Case 3:07-cV-00825-DRH-C.]P Document 2 Filed 11/27/07 Page 1 of 41 Page |D #4

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF ILLINOIS

 

)
)
MARCTEC, L.L.C., ) Case No. 07-cv-825

)
Plaintiff, )

) JURY TRIAL DEMANDED
v. )
)
JOHNSON & JOHNSON and )
CORDIS CORPORATION, )
Defendants. )
)

 

MARCTEC’S COMPLAINT FOR PATENT INFRINGEMENT

Plaintiff MarcTec, L.L.C. (“MarcTec”) for its complaint against Defendants Johnson &
Johnson (“J&J”) and Cordis Corporation (“Cordis”) (collectively, “Defendants”) hereby
demands a jury trial and alleges as follows:

NATURE OF THE ACTION

l. This is an action for patent infringement arising under the patent laws of the United

States, 35 U.S.C. §§ 271 er seq.

PARTIES

2. Plaintifi` MarcTec is a limited liability corporation organized and existing under the
laws of the State of Illinois, with its principal place of business at 1303 Evergreen Plaza,
Effingham, IL 624()1. MarcTec develops, and has developed, technology related to a variety of
medical systems and devices, and through its innovative work, has obtained over 150 patents

from the United States Patent and Trademark Ofiice.

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3. Upon information and belief, Defendant J&J is a corporation organized and existing
under the laws of the State of New Jersey, with its principal place of business at One Johnson &

Johnson Plaza, New' Brunswick, NJ 0893 3.

4. Upon information and belief, Defendant Cordis is a corporation organized and
existing under the laws of the State of Florida, with its principal place of business at 14201 N.W.

60th Avenue, Miami Lakes, FL 33014.

JURISDICTI()N AND VENUE

5. This action arises under the patent laws of the United States, Title 35, United States

Code.

6. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).

7. Upon information and belief, J&J has done substantial business in the State of
lllinois, has committed and continues to commit acts of patent infringement in this judicial

district, and has harmed and continues to harm MarcTec in this judicial district

8. Upon information and belief, Cordis does substantial business in the State of lllinois,
has conunitted and continues to commit acts of patent infringement in this judicial district, and

has harmed and continues to harm MarcTec in this judicial district.

9. Upon information and belief, this Court may exercise personal jurisdiction over each
of the Defendants because each has at least minimum contacts with this forum as a result of
business regularly conducted within the State of [llinois and this judicial district. Such
jurisdiction exists generally as well as specifically as a result of, at least, the Defendants offering

to sell and/or selling products in this judicial district that are claimed to infringe claims of U.S.

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Patent Nos. 7,217,290 and 7,128,753. Each Defendant’s conduct and connections with this
judicial district are and have been such that it reasonably should have anticipated being brought

into this judicial district

10. Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391 and 1400(b)

INFRINGEMENT OF U.S. PATENT NO. 7.128.753

11. On October 31, 2006, the United States Patent and Trademark Office duly and legally
issued U.S. Patent No. 7,128,753 (“the ’753 patent”), entitled “Surgical Devices Having a
Polymeric Material with a Therapeutic Agent and Methods for l\/laking Same.” MarcTec has
been assigned sole title to the ’753 patent, and has the right to sue and recover for past, present,

and future infringement A copy of the ’753 patent is attached as Exhibit A to this Cornplaint.

12. Upon information and belief, J&J and Cordis have been and are infringing, under 35
U.S.C. § 271, one or more claims of the ’753 patent by making, using, selling, and/or offering to
sell in the United States products, including the Cypher® Sirolimus-eluting coronary stents,

which embody, incorporate, or otherwise practice inventions claimed within the ’753 patent.

13. MarcTec has been damaged by J&J’s and Cordis’ infringements of the ’753 patent.

INFRINGEMENT 0F U.s. PATENT No. 7@7.2_£

14, On May 15, 2007, the United States Patent and Trademark Office duly and legally
issued U.S. Patent No. 7,217,290 (“the ’290 patent”), entitled “Surgical Devices Containing a
Heat Bondable l\/Iaterial with a Therapeutic Agent.” MarcTec has been assigned sole title to the
’290 patent, and has the right to sue and recover for past, present, and future infringement A

copy of the ’290 patent is attached as Exhibit B to this Complaint.

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15. Upon information and belief, J&J and Cordis have been and are infringing, under 35
U.S.C. § 271, one or more claims of the ’290 patent by making, using, selling, and/or offering to
sell in the United States products, including the Cypher® Sirolimus-eluting coronary stents,

which embody, incorporate, or otherwise practice inventions claimed within the ’290 patent.

16. MarcTec has been damaged by J&J’s and Cordis’ infringements of the ’290 patent.

JURY DEMAND

17. Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, MarcTec hereby

respectfully requests a jury trial on all issues and claims so triable.

PRAYER FOR RELIEF

WHEREFORE, MarcTec prays for judgment as follows:

(A) That J&J and Cordis have infringed the ’753 and ’290 patents;

(B) That J&J and Cordis, their officers, agents, and employees, and those persons in
active concert or participation with any of them, and their successors and assigns be permanently

enjoined from direct and indirect infringement of the ’753 and ’290 patents;

(C) That an accounting be had for the damages to MarcTec arising out of J&J’s and
Cordis’ infringing activities together with prejudgment interest and costs, and that such damages

be awarded to MarcTec;

(D) That this case be deemed exceptional under 35 U.S.C. § 285 and that reasonable

attorney fees, expenses, and costs incurred in this action be awarded to MarcTec; and

(E) That MarcTec be awarded such other and further relief as this Court deems just and

proper.

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Dated MOL),ZE>

, 2007

    

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my United States Patent

Bonutti et al.

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US()07128753B1

(10) Patent No.:
t45) Date of Patent:

US 7,128,753 Bl
Oct. 31, 2006

 

(54) SURGICAL DEVICES HAV[NG A
POLYMERIC MATERIAL Wl'l`l~I A
THERAPEUTIC AGENT AND METHODS
FOR MAKING SAME

(75) lnventors: Peter M. Bonutti. 1303 W. Evergreen
l'lZ., Elil.nghtim, ll'J (US] 62401', Mark
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Errmgham` Ir, (Us) 62401

Su bject to any disclaimer, the tenn of this
patent is extended or adjusted under 35
U.S.C. 154(b) by 103 days.

(21) Appl. No.: 10/630,321
(22) i"iled: Jlll. 30, 2003
Related U.S. Application Data

(60) Conti.nuation of application No. 10/295,127, filed on
Nov. 15, 2002, which is a continuation of application
No. 09/7'37,380, filed on Dcc. 15, 2000, now Pat. No.
6,503,26?, which is a continuation of application No.
09/362,279, filed on Jul. 27, 1999, now Pat. No.
6,203,565, which is a continuation of application No.
09/267,555, filed on Mar. 12, 1999, now Pat. No.
6,059,817, which is a division of application No.
09."0]9,511, liled on Feb. 5, 1998, now Pat. No.
5,928,267, which is a division oi` application No.
08!782,595, filed on Jan. 13, 199'.", now Pat. No.
5,735,875, which is a division of application No.
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cation No. 07/833,085, Hled on i-`eb. 10, 1992, now
abandoncd, which is a division of application No.
071'545,919, tiled on Jun. 23, 1990, now Pat. No.

( * ] Notice:

5,1¢53,960.
(51) lnt.(:i.
AarB 17/04 (2006.01)
(52) U.s.cl. ....................... 606/232-,606/220;606/223

(58) Fie!d of Classificatlon Search 606/232,

606/220, 228
Sec application tile for complete search history.

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(56) Refcrenccs Citcd

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Prinmry Examiner_Gary jackson
(74) Attomey, Agent, or Fr`rm Fleit Kain Gibbons Gutman
Bongini & Bianco', Paul D. Bia.nco; Manin li]cit

(57] ABSTRACT

Surgical devices such as implants or suture fastenings are
assembled from a plurality of discrete components, one Of
which components includes a heat bondable plastic material
for bonding the components together At least two compo-
nents are bonded to each other by the applying heat to the
heat bondable plastic material of one component The heat
hondabie plastic material is preferably a polymeric or com-
posite material suitable for surgical applications and implan-
tation in humans, and may bc a biodegradablc matcrial. A
laser may be used as the heat source. 'l`he present invention
is advantageously embodied in heat bonded fastenings for
sutures or K-Wircs, in which a variety of diiferent sutnre
anchors are usable, including expandable distal sutnre
anchors. Other embodiments include a metal bone plate
which is held to bone by a metal bone screw and a nut of
bondablc material bonded to the plate to secure the connec-
tion; a piece ofbondable material bonded to a metal pros-
thesis to custom tit the pmsthcsis; and a surgical implant
custom formed by bonding together a plurality of discrete
elements one or more of which is hondable.

20 Claims, 7 I)rawing Sheets

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Exhib it A

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Fig.5

 

 

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U.S. Patent oct 31, 2006 sheet 6 or 1 Us 7,128,753 Bi

 

 

 

 

 

 

 

 

 

 

 

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SURGICAL DEVICES HAVING A
POLYMERIC MATERIAL WITH A
THERAPEUTIC AGENT AND METHODS
FOR MAKING SAME

CRUSS-REFERENC]:`. 'l`O RHLATED
APPLICATIONS

"fhis application is a continuation ofU.S. patent applica-
tion Ser. No. 10/295,127, filed Nov. 15, 2002, which in turn
is a continuation of U .S. patent application Ser. No. 091'737,
380, filed Dec. 15, 2000 (now U.S. Pat. Noi 6,503,26’1'). Tlre
aforementioned application Ser. No. 09/?37,380 is itself a
continuation of U.S. patent application Ser. No. 09/362,279,
filed Jul. 27, 1999 (now U.S. Pat. No. 6,203,565 Bl). The
aforementioned application Ser. No. 09/362,279 is itself a
continuation ol' U.S. patent application Ser. No. 09.'267,555,
filed Mar. 12, 1999 (now U.S. Pat. No. 6,059,817]. The
aforementioned application Ser. No. 09/267,555 is itself a
divisional U.S. patent application Ser. No. 09/019,511, filed
Feb. 5, 1993 (now U.S. Pat. No. 5,928,267). 'I`hc aforemen-
tioned application Ser. No. 09/019,511 is itself a divisional
ofU.S. patent application Ser. No. 08/782,595, filed ian. 13,
1997 (now U.S. Pat. No. 5,735,875). 'l`he aforementioned
application Ser. No. 03/'782,595 is itself a divisional of U.S.
patent application Ser. No. 08!453,631, filed May 30, 1995
(now U.S. Pat. No. 5,593,425). The aforementioned appli-
cation Ser. No. 08/453,631 is itself continuation-in-part of
U.S. patent application Ser. No. 07/833,085 tiled Feb. 10,
1 992 (now abandoned). The aforementioned application Ser.
No. 07)'833,085 is itself a divisional of U.S. patent applica-
tion Ser. No. 07'/545,919, filed .lun. 28, 1990 (now U.S. Pat.
No. 5,163,960). The benefit of the earlier filing dates of the
aforementioned applications is hereby claimed

FIE.LD OF THE lNVEN'flON

The present invention relates to surgical devices such as
implants or suture fastenings.

BACKGROUNI) ()F 'I`HE .lNVEN'l`lON

Mundell U.S. Pat. No. 4,506,681 shows the use of a
prosthesis which includes a biodegradable thermoplastic
material molded around electric resistance elements to allow
for heating to soften to mold to a particular shape.

Polonsky U.S. Pat. No. 4,662,068 discloses cutting off
most of the protruding ends ofa plastic snture and heating
them to secure the ends together.

Jacobs U.S. Pat. No. 4,750,492 shows crimping or clip-
ping a biodegradable fastener or retainer on the end of a
biodegradable suture.

The compound methyl mentacr'ylate is an acrylic resin
monomer which is sometimes used in surgery to fasten or
grout implants ol`metal to bone, or hip or knee replacements
to bone. lt is usable only for bone to metal applications
Tissue reacts to it and in soil tissue it creates a fibrous scar.
Further, it is not biodegradable.

SUMMARY OF THE INVENTlON

'fhe present invention includes an assembly for use in
surgical applications in humans. The assembly may include
two components, at least one of which comprises a heat
bondable material 'l`he first and second components are
bond to each other by the application of heat to the heat

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bondable material, to make the heat bondable material
soften, become tacky, and build to the other eomponent.

if only one of the components comprises a heat bondable
material, the application of heat to the heat bondable mate-
rial of that component causes the heat bondable material to
soften and bond to the other component

If both of the components comprise a heat bondable
material, the application of heat to the heat bondablc mate-
rial of the components causes the heat bondable material of
at least one and preferably each component to soften and
bond lo the other componentl

”l`he assembly can also include a first component, a second
component, and a third component separate from the first
and second components and comprising a heat bondablc
materiall The application of heat to the heat bondable
material of the third component causes the heat bondable
material to soften and bond to the first and second compo-
nents to interconnect the first and second components

'l`he heat bondable material is preferably a polymeric or
composite material suitable for surgical applications and
implantations in humans, and may be a biodcgradable matc-
rial where such is called for by the application.

The present invention may advantageoust be embodied
in heat bonded fastenings for sutures or K-wires, in which a
variety of different sutnre anchors are usable, including
expandable distal sutnre anchors. Such sutnre fastenings are
easier to form and stronger than conventional tied knots.
Othcr examples of assemblies embodying the present inven-
tion may include a metal bone plate which is held to bone by
a metal bone screw and a nut of bondable material bonded
lo the plate to secure the connection', a wedge of bondable
material bonded to a metal prosthesis to custom fit thc
prosthesis; and a surgical implant custom formed by bond-
ing together a plurality of discrete clements one or more of
which is bondable. Such embodiments are fiirt.her described
below.

'l"hc present invention may also provide a method of
suturing body tissue. Aportion of a suture is inserted into an
opening in a retainer formed of a plastic material At least a
portion of the retainer is heated to a temperature in a
transition temperature range of the plastic material forming
the retainer rl'he suture is maintained at a temperature below
the transition temperature range of a plastic material forming
the sutnre while the retainer is heated 'f`he plastic material
of the retainer fiows around the plastic material of the suture.
Abonding of the plastic material of the retainer to the plastic
material of the suture is effected by cooling the plastic
material of thc retainer to a temperature below its transition
temperature rangc. 'i`he foregoing steps arc performed with-
out significant deformation of the plastic material of thc
sutnre.

BRIEF DES(`RIPTION OF THE DRAWINGS

Furthcr features of the present invention will become
apparent to those skilled in the art to which thc present
invention relates from reading the following specification
with reference to the accompanying drawings, in which:

F]G. l is an illustration of a metal bone plate which is held
to bone by a metal bone screw and a nut of bondable material
bonded to the plate to secure the connection in accordance
with one of the features of the present invention;

FlG. lA is an illustration ol` a bone plate ol` bondable
material which is held to bone by a bone screw and nut both
of bondable material and bonded to each other to secure the
connection',

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US 7,128,7'53 Bl

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FIG. 2 illustrates the use of a bonded fastening in accor-
dance with one of the features of the present invention to
obtain increased holding power on a fastener extending
through a bone',

FIG. 3 is an illustration of a wedge of bondable material
bonded to a metal hip prosthesis to custom tit the prosthesis;

FIGS. 4A and 4B are illustrations of a wedge ofbonclable
material bonded to a metal tibial prosthesis to custom fit the
prosthesis;

FIG. 5 is an illustration of a surgical implant custom
formed by bonding together a plurality of discrete bondable
elements;

FIG. 6 is an illustration oftlie use ofa third component of
bondable material to custom form a surgical implant by
bonding together a plurality of discrete elements;

FlGS. 'i'A-’TC arc illustrations of a bonded Suturc fasten-
ing in accordance with one of the features of the present
invention;

l"lGS. BA-Sl are schematic illustrations of a variety of
different suture anchors usable in bonded suture fastenings',

l~`lGS. gring are illustrations of an expandable distal
suture anchor usable in bonded suture fastenings;

FIG. 10 illustrates the usc of a curved hole in tissue parts
to be joined with bonded fastenings on either end of the
joining element;

FIGS. llA-llC are illustrations ol` a bonded rivet in
accordance with one ofthc features of thc present invention;

FIG. 12 is a schematic sectional view illustrating the
manner in which a suture is placed relative to body tissue
and extends into openings in a retainer',

FIG. 13 is a plan view, taken generally along the line
13-113 of FIG. 12, further illustrating the construction of
the retainer;

FIG. 14 is an enlarged fragmentary sectional view of a
portion of FIG, 13;

FIG. 15 is an enlarged fragmentary sectional view, gen-
erally similar to FIG. 14, illustrating the manner in winch the
retainer is bonded to the suture without significant defor-
mation ol` the suture;

FIG. 16 is a fragmentary sectional view generally similar
to FIG. 15, illustrating the manner in which the retainer is
bonded to a braided suture-,

FIG. 17 is a schematic illustration, generally similar to
FIG. '12, schematically illustrating the orientation of poly-
mer chains relative to thc retaincr; and

FIG. 18 is a fragmentary sectional view, generally similar
to FIG. 12, illustrating a second embodiment of the retainer.

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ln this application the term “bondablc“ or “bondable
material” is used to refer to any material, suitable for use in
surgical applications, which can be softened and made

liowable by the application of heat, and which1 when soft- ,

ened, will become tacky and bond to other materials and will
flow to fill available spacc. Thus, the material may be
Lhermoplastic, but it may also exhibit tachiness or bonding
ability when in its plastic fonn. Many materials suitable for
surgery are made of or incorporate such heat bondable
materialsl Many biodegradables, polymers such as polyeth-
ylene, and compositcs fail in this class. 'fhey can be joined
by heat bonding at reasonably low temperatures which can
be applied in the operating room safely, unlike the very high
temperatures needed to mclt metal Composite materials can
include reinforced plastics, or polymers which are laminated
or layered or reinforced with one or more other materials

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such as nylon, graphite fibers, Kevlar® fibers, stainless steel
fibers, ctc. Many suturcs arc made of polymers which arc
Suitable for use herein. Selection of Such material is Wlthin
the ordinary skill of the art.

Various components of at least some embodiments of the
invention are formed of a plastic material A plastic material
is a material which contains one or more polymers and
Which may also Contain other materials such as lillcrs,
Solvents, plasticizers, lubricants, accelerators, dycs, etc. An
interconnection or bond between plastic materials occurs as
a result of molecularattiaction (adhesion) and/or mechanical
force resulting from shrinking of the plastic material A
transition temperature range of the plastic material is a
temperature range at which the plastic material changes
from a solid condition in which it has a fixed form to a
viscous condition in which thc material readily flows and is
soft enough to be molded.

Any suitable heat generating apparatus can be used to heat
and soften or spot weld the material such as a hot air gun,
a small welding or soldering gun, or a Bovie tip. Also usable
are lasers, which are commonly provided in operating
rooms. l.asers are especially desirable because they are
precise and controlled in their application, can generate
sufficient heat very quickly, and cause less thermal necrosis
because there is less misdirected heat 'lhe heating operation
can be done pre-operatively to form an asscrnbly; can be
done outside the body but in the operating room to custom-
ize implants at the time of surgery; or can be done during
surgery, in the body, when the bond is needed within the
human body.

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FIGS. 1 and 2 illustrate heat bonded assemblies including
existing surgical objects such as plates, screws, etc. in FIG.
1, a bone plate 10 is secured to bone material 12 by a bone
screw 14. The bone plate 10 and the bone screw 14 are both
made of metal Ordinarily, the bone screw 14 Would be
secured to the bone plate 10 by a metal nut threaded onto the
bone screw 14 and run up adjacent the bone plate 10.
liowever, such a connection can loosen and thus destroy the
integrity of the assembly Accordingly, in accordance with
the present invention, a nut 16 is provided which is made of
or includes a bondable material The nut 16 is threaded on
the bone screw 14 into abutting engagement with the bone
plate 10. 'l'hen, the bondable material of the nut 16 is heated
and Soflcned to flow about the joint between thc nut 16 and
the bone plate 10, to bond the nut 16 to the bone plate 10.
The nut 16 can also be bond to the bone screw 14 ifdesired
for a stronger connection

FIG. lA illustrates an assembly similar to FIG. 1 in which
a bone plate 18 and a bone screw 20 both made of or
including bondahlc material are provided. The nut 16 (FIG.
1] is not used. lnstead, the bone screw 20 is bonded directly
to the bone plate 18 at an area 22.

As noted, ordinarily a bone plate is held to bone via a
threaded fastener such as the bone screw 14 or 20 in FIG. 1.
However, the bone is alive and is constantly remodeling the
threads on the bone screw. As this happens, the fastener loses
its purchase or holding power in the bonc_. and the screw can
pull loose. Aceordingly, it would be desirable to obtain more
purchase by a different kind of fastcncr.

FiG. 2 illustrates the use of a bonded fastening in accor-
dance with thc present invention to obtain increased holding
power. "fhe fastener extends completely through a tissue
mass such as a bone 160, for example to secure a plate in
position against the bone. An elongate fastener 162, which

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may be metal or may be made of or include a hondable
material, is inserted through an opening in the bone 160. A
distal fastener 164 is secured to the distal end of the screw
162 by a plug of bonded material 166. 'l`he plate 168 is then
placed over the bone screw, and a proximal fastener 170
made of or including a bondable material is bonded to either
or both of the screw 162 and the plate 168. The elongate
fastener 162 may optionally also be threaded in the portion
engaging the bone 160. The elongate fastener 162 may
optionally also be threaded in the portion engaging the
fastener 164 and/or the fastener 170.

The bonded fasteninng obtained thereby are stronger than
is possible with either a threaded connection or a tied Or
crimped connection Furt.her, there is no reliance on a
threaded connection between bone and fastener which will
inevitably weaken over timc. Also, bone screws are threaded
and are always straight. The elongate fastener 162 need not
bc straight because it need not be ‘dtrcaded. Thus, it can bc
curved, or angled, as needed or desired to fit any particular
application In combination with the bonded connection of
the fasteners at the ends cf the elongate fastener, such a
structure is a vast improvement over a typical metal threaded
fastener.

FIGS. 3 and 4 illustrate surgical assemblies in which an
existing surgical prosthesis or implant has been modi€ed to
better tit the particular applicationl Such prostheses or
implants come from a manufacturer in only a limited range
of sizes and shapes. However, the particular bone into which
a prosthesis or implant is to be inserted may have defects or
size discrepancies which would make it impossible to obtain
a good fit with even the closest fitting prosthesis or implant.

ln accordance with one of the features of the invention,
the shape and size oi"a prosthesis or implant are modified to
tit a particular bone. A femoral prosthesis 30 illustrated in
FIG. 3 has been modified with the addition of a wedge 32
including heat bondablc material in order to better fit a gap
34 in the bone 36. The wedge 32 is custom shaped to fit the
gap 34 exactly Thc connection 38 between the wedge 32
and the prosthesis 30 is secured by heating and softening the
wedge 32 so that the material of the wedge 32 adheres or
bonds to the prosthesis 30. The assembly of the heat
bondable wedge 32 and the femoral prosthesis 30 fits the
femur 36 much more properly than would the prosthesis
alone. This assembly can easily be made right in the
operating room at the time of the joint reduction, allowing
the surgeon to customize or equilibrate at the time of
surgery

Similarly, in FIG.. 4, a tibia 40 is shown to have an area
of defect 42 which makes it impossible to properly fit a tibial
component 44. Accordingly, as seen in FlGi 4B, an element
46 including a heat bondable material is shaped With heat as
by a laser in the operating room to lit the defect 42. The
element 46 is then bonded to the tibial component 44 prior
to placement thereof in the bone 40. 'l`he assembly of the

tibial component 40 and the elemcnt 46 provides a proper fit _

in the tibia 40. Therc is no other suitable way of matching
the requirements of bone and joint in the operating room.
The bone components shown in FIGS. 3 and 4 are only an
illustration of the many kinds of objects which can be used
to forrn assemblies embodying the present invention lt can
thus be seen, as illustrated in FIGS. 3 and 4, that the present
invention gives the surgeon the ability to immediately
modify the shape and size of almost any existing surgical
part including a prosthesis, in order to better fit the particular
application for usc in the body. Th_is is accomplished by heat
bonding a piece of bondable material onto the prosthesis, to
make an assembly designed for the particular application

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The piece can be custom shaped in the operating room to fit
the application exactly by heating and bonding of a polymer
or compositel

l"lGS. 5 and 6 illustrate schematically some custom
fabricated implants which ca11 be constructed in accordance
with the present invention. ln l~`lG. 5, a relatively thick plate
50 is joined to a relatively thin plate 52. Both the plate 50
and the plate 52 are made of or include a bondablc material
The plates 50 and 52 arc joined at the area of the joint 54
between them, by bonding in accordance with the present
invention A third element such as a stud 56 may be added,
with bonding at the joint 58 therebetween Thus, the surgeon
has the ability to laminate pieces in surgery and does not
have to rely on pre-made hardware

lt should be understood that the illustration in FIG. 5 of
plates and a stud is not limiting, but is only illustrative of the
almost limitless number of surgical devices which can be
constructed in accordance with the present invention Items
such as rods, bars, plates, or any type of construct usable in
medical/surgical applications object can be custom shaped
or built up in accordance with the present invention They
can be made of polymers or composites which can easily be
cut with a laser and also softened to custom iit. They can bc
made of or include a biodegradable material in those
instances where it is desired that the material be replaccd,
over time, with natural tissue ingrowth. They can also
include tissue ingrowth promoters, antibiotics, or other
additives as desired

Rather than having one or both of the components to he
joincd made of a bondable material, a third component can
be used to join them, with the third component being made
of or including a heat bondable material. The third compo-
nent is non-flowable and non-adherent at room temperature
before use. When it is soitened by heating and applied to the
first and second components, it bonds to both components to
interconnect them. A laser is ideal for heating the interpo-
sitional bonding material because of the accuracy available
with the laser. As an examplc, FIG. 6 illustrates an assembly
similar to FlG. 5 in which a plate 60 and a plate 62 and a stud
64 are joined by the use of additional bonding material at
locations 66, 68, 70, and 72. In this case, the plates 60 and
62 and the stud 64 need not be made of beat bondable
materials

For example, a total hip or knee replacement is possible

l using components bonded together by hcat. If some or all of

the parts are made of heat bondable material such as
polymers or composites, an assembly as described herein
can be produced simply by the application ol` heat to bond
the parts together as desired If the replacement does not fit
the existing bone exactly, it can be customized at the time of
surgery by cutting as with a la ser, by adding as by bonding,
or by heating to bond wedges or pieces to il.

lt can bc seen that thc present invention also provides thc
capability for forming a custom-fit surgical implant for
bonding to a bone or to a bone prosthesis which comprises
a component at least partially formed of a heat-bondable
material which has been custom-shaped by the application
of heat to said heat-bondable material. In this instance, the
aforementioned laser is most suitable for fonning the
implant. The lasers which are commonly found in operating
rooms can cut, shapes and otherwise form almost any
suitable material used hercin, including polymers, biode-
gradnble materials, and even composites including reinforc-
ing materials. The implant can include several components
each having hcat-bondablc material, or several components
only one of which includes a heat-bondable material, or it
can be a single component which is custom made for a

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particular application Such use of heat to form implants
provides the surgeon with greatly extended capabilities in
the operating room and does not limit him to pre-formed
implants or prosthcses.

Second Embodinient

lt is dillicult to tie a sutnre knot to itself or to slide it down
through deep tissue in a limited working area (as in liber
optic surgery). 'l`ypically, the surgeon can often not work in
a straight line but needs to use a suture loop (going through
the tissue twice) to bring tissue together. Any such increase
in the amount of tissue through which the suture must pass
increases damage to tissue. Furthermore, mechanical tying
or crimping of sntnres or K-wires, especially ot`polymers or
biodcgradables which are generally smootli, does not pro-
duce connections which are as strong as desirable, and
Suture connections sometimes may come untied as a result

ln accordance with one of the features of the present
invention, surgical connections for holding adjoining tissues
together are secured by melting a fastener or anchor on the
end ofa suture, rather than by tying or by clipping the anchor
on thc end of the suture. (`l“hc term “suture” is used herein
to refer to a suture, a K-wire, or any similar surgical
connector.) The anchor is pushed over thc free end of the
suture down to the tissue1 drawing the tissues together.
Either the anchor alone or the anchor and the suture are
melted together to lock them into position.

\Vrth the fasteners of the present invention, therefore, a
surgeon has more control since he can apply more pressure
to push the tissues together and it is easier to appose the
tissues; the tension on the repaired tissues is more control-
lable, predictable, and reproducible‘, and the fasteners can be
used in a smaller working space. Further, a melted anchor
provides a stronger bond than the mechanical interlock of a
suture knot, because it will not unravel or corne apart as a
surgical knot may. It takes less time to fasten than it does to
tie a suitable knot. Thcre is improved contact between the
tissues being joined because ol` the better suture connection
The straight line suture fastening also avoids buckling of the
tissue edges caused by force vectors not extending in the
direction of the suture.

Since he only needs one free suture end to make a secure
connection, the surgeon does not need to use a suture loop
to bring tissue togethcr, but can work in a straight line. `l`his
lessens damage to tissue because a straight line connection
is easier to obtain than a loop in a limited spacc. Also, it
improves tissue apposition and approximation when a
straight line fastening is pulled together rather than a loop
which tends to buckle or pucker tissue at the edges because
of the force veetors not directed along the length of the
suture.

The fasteners can bc used for the fixation of soft tissue,
tendon, ligamcne meniscus, muscle, l`ascia, vessels, nerves
or bones to each othcr. They can be used, for cxample, to
hold a relator cull` to bonc, or to join fracture fragments of
bone to bone. The anchors can bc custom molded, specially
made at the time ol`surgery (or preoperatively) to conform
exactly to the tissue or bone application

One anchor is secured to the distal end of thc suture.
(Alternatively, it may be preformed or connected on the
suture in any known manner of connection.] The sutnre is
then positioned in the tissues to be juined, a second anchor
is slid over the free end, pulled down to close the gap, and
melt it in plaoe.

As illustrated in FIG. 7, two pieces oftissue 80 and 82 are
to be joined using a suture 84. A distal anchor 86 is located

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on the end of the suture 84. The suture is then inserted
through the tissues 82 and 80 so that a free end 88 of the
suture 84 protrudes at the proxima] end. /\ fastener 90 having
an opening 92 therein is slid over the wire 84 and pulled
down tight as shown in FIG. 7C to close the gap 94 between
the tissues 80 and 32.

The fastener 90 is made of a heat bondable plastic
material (The suture can also be made of heat bondablc
plastic material which is bonded to secure the eonnection.)
The fastener 90 is their bonded at an area 96 to the protruding
free end 88 of the suture 84. ln FIG. 7C, it can be seen that
the fastener 90 is bonded to thc suture 84 without significant
deformation of the suture. Altematively, the fastener 90 can
bc bonded along the length of the opening 92 to the suture
84. The protruding end of the suture 84 is then cut oll'.
Applicant has found through testing that while a simple
mechanical comiection such as a knot or a crimped connec-
tor is not strong enough to hold in some circumstances, the
bonded connection illustrated in FIG. 7 overcomes this
difficulty and will hold.

FIG. 8 illustrates a few of thc many fasteners which can
be used in accordance with the present invention FIG. 8A
shows a Sin:tple square fastener 100 having a suture receiv-
ing opening 102 therein The fastener 104 is round and has
an opening 106 therein The fastener 108 shown in FIG. SC
includes a plurality of barbs 110 for better gripping in the
tissue against which it engages The fastener 112 shown in
FIG. 0 is umbrella- like in shape, having an outer rib 114 and
a plurality of radially extending ribs 116.

The fastener 118 shown in FIG. BE is lilamentous, having
a plurality of protruding filaments 120. The fastener 122
shown in FIG. SF is a T-snap. The fastener 124 shown in
FIG. 8G is curved or cuppcd about the opening 126 so that
its ends 128 and 130 will fiattert as pressure is applied upon
drawing tight the suture. 'l`he fastener 132 shown in l-"lGS.
81-{ and 81 is reinforced with transverse ribs 134 and longi-
tudinal ribs 136 for better strength 'l`he ribs 134 and 136
protrude axially from the main body 138 of the fastener.
Finally, any anchor or fastener can be specially madc, that is,
custom molded at the time ol` the surgery or preopcratively
to conform exactly to the tissue against which it will bc
abutting.

FIG. 9 illustrates the use of an expandable distal suture
anchor for bonded suture fastenings in accordance with the
present invention ln particular, FIG. 9 illustrates the use of
a bonded assembly to secure a tendon 140 to bone 142. To
make the assembly, initial]y, a cannula or sleeve 144 is
inserted through the tendon to the bone. A gouge 146 is then
used to gouge out an opening 148 in the soft cancellons
tissue under the cortical bone. An expandable anchor 150,
confined in a sleeve 152 and having a suture 154 extending
proximally from the sleeve 152, is inserted through the
canula 144 into the opening 148 in the bone. The sleeve 152
is then withdrawn, allowing the anchor 150 to expand within
the opening 148, blocking removal ol'the suture.

A fastener 156 made of or including a bondahle plastic
material is then slid distally over the suture 154 into engage-
ment with the tendon 140, and then further, pushing the
tendon 140 into engagement with the bone 142. The anchor
156 is then bonded to the suture 154, providing a connection
which is stronger than that of any tied knot. ln FIG. 9D, it
can be seen that the fastener 156 is bonded to the suture 154
without signilicant deformation of the suture. In a similar
manner, an cxpandablc anchor as illustrated herein can be
used with a bonded fastening in any application in which the
anchor must be placed in a blind location This method can

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work also especially well with a barbed or umbrella-like
anchor as illustrated in FIG. SC or SD.

FIG. 10 illustrates the use of bonded fastenin,gs in accor-
dance with the present invention in conjunction with a
curved opening in tissue parts to be joined. lllustrated in
FIG. 10 are two portions 172 and 174 of a fractured bone
with their ends abutting at a joint 17 6. It is possible to secure
together the bone ends with a suture which extends axially
through the l`ractured ends of the bone, while accessing the
joint only from one side of the bone. A curved opening 178
is drilled through the first bone part 172 and the second bone
part 174, beginning at the proximal end of the first bone part
172, extending through the joint 176_, and exiting at the
proximal face of thc second bone part 174. A suture 180 is
then passed through the opening 178. A first fastener 182
made of or including a bondable plastic material is then
bonded onto the protruding end of the suture 130. The suture
is then pulled tight, and a second fastener 184 also made of
or including a bondable material is pulled down tight against
the proximal face of the second bone part 174 and bonded
by heating in location to the suture 180. ln FIG. 11, it can be
seen that the fasteners 182 and 184 are bonded to the suture
180 without significant deformation of the suture.

FIG. 11 illustrates the use of a bonded fastening in
accordance with a feature of the present invention in eon-
junction with a rivet type fastening To secure together two
adjoining masses 186 and 188, a sleeve 190 is inserted
through an opening in the tissues until the distal end 192 of
the sleeve projects behind the tissue 186. A mandrel 194 in
the sleeve 190 has a headed portion 196 at its distal end 192.
The mandrel ]94 is then pulled outwardly, while the sleeve
190 is held in place, spreading the distal end 192 of the
sleeve to lock the sleeve in place behind tissue 186. The
protruding end of the mandrel 194 is then cut oli` flush with
and bonded by heating as at 198 to the head end 200 of the
sleeve. 'l`his type of bonded connection can be used in
various applications where the surgeon is connecting two
tissue masses with access only from one side thereof.

The present invention also is embodied in a method ol`
making an assembly for use in surgical applications in
humans, The method comprises the steps ol`providing a first
component which comprises a heat bondahle plastic mate-
rial', providing a second component; and bonding the first
and second components to each other by the application of
heat to the heat bondablc material to make the heat bondable
material bond to the other component In the method, the
second component may be a surgical prosthesis or implant,
or it may be a bone plate or bone screw. The heat bondable
plastic material used in the method may be a polymer, a
composite, or a biodegradable material

The present invention also is embodied in a method of
fastening a suture or K-wire to hold together adjoining tissue
masses in a human surgical application The method com-
prises the steps ol:` inserting die suture into the desired
location in the tissue masses, placing in position on the
suture a suture fastener, and bonding the suture to the
fastener by applying heat to one or both of the fastener and
the suture to bond the fastener to the suture. Further, Lhe
fastener may be mechanically crimped first and then heat
bonded to provide the benefits ol` both types of fastenings.

The present invention is also embodied itt a kit of Com-
ponenls for forming an assembly by heat bonding for use in
surgical applications in humans and incorporating at least
one heat bondable material. The kit comprises a first com-
ponent and a second component comprising a heat bondable
material, with the lirst and second components bondable to
each other upon the application of heat to the second

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component to make the heat bondable material Of the second
component bond to the first component The kit may further
include heat generating means for generating heat to bond
said first component to said second component. 'll.re com-
ponents and the heat generating means are as described
above with respect to the assemblies

Method and Apparatus for Suturing Body Tissue

An apparatus 220 for use in suturing human body tissue
(l~‘lG. 12) includes a retainer or crimp 222 and a suture 224.
The suture 224 extends through a layer 226 of skin into body
tissue 228 disposed beneath the skin, A]though the suture
224 as been illustrated in FIG. 12 in association with soft
body tissue 226 and 228, it is contemplated that the suture
224 could be used in association Witl‘t relatively hard body
tissue, such as bone. 'lhe suture 224 may be placed in many
different locations in the human body for many different
purposes For example the suture 224 may be used with a
suture anchor in the manner disclosed in U.S. Pat. No.
5,403,348 issued Apr. 4, 1995 and entitled Suture Anchor.

The retainer 222 is formed of a plastic material The
suture 224 is also formed of a plastic material. The retainer
222 is bonded to the suture 224 without significant defor-
mation of the suture. 'l`his enables the retainer 222 to
securely hold the suture relative to the body tissue 226 and
228 without impairing the strength ot` the suture. Although
the retainer 222 has been shown in FIG. 12 as being
connected with opposite end portions of a single suture 224,
the retainer could be connected with end portions of two
separate sutures.

In the illustrated embodiment of thc invention, the
retainer 222 has a generally cylindrical Conl'iguration (FIGS.
12 and 13). The retainer 222 has a pair of linear cylindrical
passages 232 and 234 through which the suture 224 extends
Thus, a portion 238 of the suture 224 extends through the
passage or opening 232. A portion 240 of the suture extends
through the passage or opening 234 (FIG. 12).

ln the suture arrangement illustrated in FIG. 12, a con-
nector portion 242 ol` the suture 224 intercomects the two
portions 238 and 240. If desircd, the connector portion 242
of the suture 224 could extend through a suture anchor lt is
contemplated that the connector portion 242 of the suture
224 could extend around liganients or other human body
tissue. lt is contemplated that the retainer 222 could be used
to interconnect suttues in a series of sutures.

After the two portions 238 and 240 of the suture 224 have
been inserted into the passages or opening 232 and 234 in
the retainer 222, the retainer and suture are interconnected to
hold the suture against movement relative to the body tissue.
To interconnect the retainer and Lhe portion 238 oi`the suture
224, the plastic material of the retainer 222 is heated to a
temperature in a transition temperature range of the plastic
material of the retainer 222. The plastic material of the
suture 224 is maintained at a temperature below the transi-
tion temperature range of the plastic material forming the
suture.

Thus, in the specific embodiment of the invention illus-
trated in FIGS. 12 ~15, the plastic material of the suture 224
has a transition temperature range which is above 190°
Celsiu's. The specific retainer 222 illustrated in I"IGS. 12¢15
has a transition temperature range which is below 190°
Celsius. I-iowever, it should be understood that at least a
portion of or even the entire transition temperature range for
the suture 224 could be coextensive with the transition
temperature range for the retainer 222. ln fact, the transition
temperature range of the suture could extend below the
transition temperature range ot`thc retainer. I-lowever, it is

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believed that it will be advantageous to have a higher
transition temperature range for thc suture than for the
retainer.

Once the plastic material of the retainer 222 has been
heated to a temperature in the transition temperature range
for the plastic material of the retainer, the plastic material of
the retainer flows around the plastic material of the suture
224. This occurs while the plastic material of the suture 224
is maintained at a temperature below the transition tempera-
ture range of thc plastic material of` the suturc. Thus, the
portion of the plastic material nt` the retainer 222 forming the
passage 232 (FIG. 14) is heated to a temperature in its
transition temperature range. The plastic material of the
retainer 222 then flows inwardly around die portion 238 of`
the suture 224 to eliminate the passage 232 (FIG. 15).

As this occurs, the portion 238 oftlle suture 224 maintains
its original configuration and is not significantly deformed
Thus, an outer side surface 242 of the suture 224 has the
same cylindrical configuration along the length of the suture
both in the areas where the outer side surface of the suture
is exposed to the heated material of the retainer 224 and in
the areas where the suture is not exposed to the heated
material of the retainer 222. By maintaining the configura-
tion of the portion 238 of the suture exposed to the heated
material of the retainer 222 constant, the suture 224 is not
weakened in the areas where it is exposed to the heated
material of the retainer.

Afier the material of the retainer 222 has been heated and
flows around the portions 238 and 240 of the suture 224, in
the manner illustrated schematically for the portion 238 of
the suture in FIG. 15, the heated plastic material of the
retainer is cooled to a temperature below the transition
temperature range of the plastic material of the retainer. As
the plastic material ofthe retainer is cooled to a temperature
below its transition temperature range, the plastic material of
the retainer bonds to the suture 224. Thus, the plastic
material of the retainer 222 bonds to the portion 238 of the
suture 224 and bonds to the portion 240 of the suture.

AS Lhe plastic material of the retainer 222 is cooled and
bonds to the outer side surface 242 of the suture 224, a
secure interconnection occurs between the material of Lhe
retainer 222 and the material of the suture 224 at the portions
238 and 240 of the suture 'l`he interconnection between the
material of the retainer 222 and the material of the portion
238 and 240 of the suture is thc result of both molecular
attraction (adhesion) of the material of the retainer 222 to the
material of the suture 224 and due to a mechanical inter-
connection between the material of the retainer 222 and the
material of the suture 224. Thus, as the material ot` the
retainer 222 cools, it mechanically grips Lhe suture 224 so
that the suture is held against movement relative to the
retainer by interfacial forces between the material ol` Lhe
retainer and the material of the suturc. Thus, there is a fusing
of the material of the retainer 222 to die material of the
suture 224 along the portions 238 and 240 of thc suture.

'l“he suture 224 is formed of a plastic material which may
be a biopolymcr. ln one specific embodiment of` the inven-
tion, the suture is formed ol` polyglycolide (P-G) (C4I-l404)
which is commercially available under the trademark
Dexon. Polyglycolide is a crystalline material (4&55%
erystal]iniry] that melts at about 225° Celsius. Although the
suture 224 is a monofilament suture having a continuous
cylindrical outer side surface 242, it is contemplated that this
suture could be formed in a dilli:rcnt manner. For example,
the suture could be a braidcd suture.

lt is also contemplated that the suture 224 may be formed
of a high glycolide-bnsed copolymer, specifically a ]0)'90

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P-LL."G (`ltl% poly l-lactide and 90% glycolide) Whicl‘l is
commercially available under the trademark "Vicryl". “Vic-
ryl" is a crystalline material that melts at about 205° Celsius.
"Vicryl” can be used for either a monofila.ment or braided
suture.

The retainer 222 is also a plastic material which may be
a biopolymer. ln one specific embodiment of the invention,
the retainer 222 is formed of` poly dl lactide (P-DLL)
(CsHSO¢) and is amorphous and has a processing tempera-
ture of approximately 120° Celsius. The transition tempera-
ture range of poly dl lactide will vary depending upon the
specific characteristics of the material However, the retainer
222 of` FIGS. 1245 had a transition temperature range ot`
from about 750 Celsius to about 120° Celsius.

ln another specific embodiment of thc invention, the
retainer 222 is formed of poly dl lactide (P-DLL) (C51~1804)
and poly l lactide (P-LL) (CéllBOq) copolymer and is a
material having a melt temperature ol` approximately 165"
Celsius. 'l`he transition temperature range ol` the poly dl
lactide and poly l lactide copolymer will vary depending
upon the Specific characteristics of the copolymer and is
from about 75“ Celsius to about lBO° Celsius. ln still another
specific embodiment of the invention, the retainer 222 is
formed of poly l lactide (P-LL) and has a melt temperature

_ of approximately 145°¢185" Cclsius. A transition tempera.

ture range of poly 1 lactide is from about 70° Cclsius to
about 135‘l Celsius.

lt is contemplated that the retainer 222 may be formed of
many different types of plastic materialsl However, it is
believed that biopolymers may be preferred lt is contem-
plated that polymers of lactic acid, lactides l-lactides, and
isomers of lactic acids and/or lactides may be preferred Of
course, the suture 224 can also be formed of many different
types of plastic materials

Altliough it is presently preferred to form the suture 224
and retainer 222 of dii]erent matcrials, the suture and
retainer could be formed of the same material if desired By
forming the suture 224 of a material having a transition
temperature range which is at least partially above the
transition temperature range of the retainer 222, bonding of
the retainer to the suture without significant deformation ol‘
the suture is facilitated

ln the embodiment of the retainer 222 illustrated in FIGS.
12 and 13, the plastic material of the retainer 222 is heated
to a temperature in its transition temperature range by
applying heat to a portion of the retainer disposed between
the two passages 232 and 234. This results in a central
portion ot`the plastic material forming the retainer 222 being
heated into its transition temperature range while the outer
circumference ol` Lhe cylindrical retainer 222 is maintained
at a temperature below the transition temperature range of
the plastic material ol` the retainer.

ln the specific embodiment of thc retainer 222 illustrated
in FIGS. 12 and 13, a generally conical recess 250 is formed
in the central portion of the retainer 222. The recess 250
(FlG. 13) is spaced equal distances from the passages 232
and 234 and has a central axis Which is parallel to the central
axes of the passages 232 and 234. The central axis of the
recess 250 is coincident with a central axis ot`the cylindrical
retainer 222. ln this specific embodiment of the invention, a
heater element 254 having a conical end portion 256 is used
to heat the retainer 222. Ol` course, other devices, such as a
laser, could be used to heat the retainer 222.

Al`ter the portions 238 and 240 ol` the suture 224 have
been inserted into thc openings or passages 232 and 234 and
the suture and retainer moved to the desired positions
relative to the body tissue 226 and 228, the heater element

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254 is inserted into the recess 25|J, Heat is conducted from
the heater element 224 to the plastic material in thc central
portion of the retainer 222. The plastic material in the central
portion of the retainer 222 is heated into its transition
temperature range As this occurs, the plastic material in the
central portion of the retainer 222 changes from a solid
condition in which it has a fixed form to a viscous condition.
The plastic material adjacent to the cylindrical outer side
surface of the retainer is not heated into the transition
temperature range and maintains its original configuration

Wherr the plastic material in the central portion of the
retainer 222 has been heated into the transition temperature
range and has a viscous condition, the material readily liows
and molds itself around the outer side surface 242 (FIG. 15)
of the suture 224. As this occurs, the configuration of the
suture 224 remains unaltered and there is no significant
deformation of the suture 224. The heating element 254 is
then removed from the recess 250 and the plastic material of
the retainer 222 is cooled to a temperature below the
transition temperature ot`the material. As the plastic material
of the retainer 222 is cooled to a temperature below its
transition temperature, the plastic material bonds to the
suture 224 to provide a solid interconnection between the
retainer and the suture.

111 tire embodiment of the invention illustrated in FlGS.
12-15, the suture 224 is a monolilarnent suture. ln the
embodiment of the invention illustrated in FIG. 16, the
suture is a braided suture. Since the embodiment of the
invention illustrated in FIG. 16 is generally similar to the
embodiment of the invention illustrated in FIGS, 12e15,
similar numerals will be utilized to designate similar com-
ponents, the suiiix letter (a] being associated with the
embodiment of the invention illustrated in Fl(`r. 16 to avoid
confusion

A retainer 222a formed of a plastic material is bonded to
a suture 224a by heating thc plastic material of the retainer
222a into its transition temperature range Al’ter the plastic
material of the retainer 222a has flowed around the suture
224a while the plastic material of` the suture is at a tem-
perature below the transition temperature range of the plastic
material of the suture, the plastic material of the retainer is
cooled to a temperature below the transition temperature
range of the plastic material of the retainer. As the plastic
material of the retainer 222a is cooled, a secure bond is
obtained between thc plastic material of the retainer 222a
and the suture 224a. This secure bond is obtained without
significant defamation of the suture 224a.

In accordance with a feature of the embodiment of thc
invention illustrated in FlG. 16, the suture 224.:¢ is a braided
suture. 'l'hus, the suture 224a is formed by plurality of
monofilament strands which are intertwined to form the
braided suture 224a. When the plastic material of` the
retainer 222a is heated to a temperature above its transition
temperature, the plastic material of the retainer 222a flows
between and around thc strands of the braidcd suture 2240.
Upon cooling of the plastic material of the retainer 222a to
a temperature below its transition temperature a secure bond
is obtained between the material of the retainer 222a and the
strands of the braided suture 224a.

in the embodiment of` the invention illustrated in FIG. 17,
the polymer chains of the plastic material forming the
retainer arc oriented relative to the suture. The orientation of
the polymer chains of the retainer arc such that the bonding
which is obtained between the suture and the retainer
includes a mechanical interconnection due to contracting of
the polymer chains as the plastic material of` the retainer is
heated. Since the embodiment of the invention illustrated in

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FIG. 17 is generally similar to the embodiment of` the
invention illustrated in FIGS. 12-15, similar numerals will
be utilized to designate similar components, the suiiix letter
“b" being associated with the numerals of` Fl(_i. 17 in order
to avoid confusionl

The retainer 222b has a generally cylindrical configura-
tion. The suture 224b has portions which extend through the
retainer 222b, Portions of the suture 224b are disposed in
passages (not shown) corresponding to the passages 232 and
234 of FIG. 12. The retainer 222b and Sut'ut’e 2245 arc
formed of the same plastic materials as the retainer 222 and
suture 224 of FIGS. 12-15.

in accordance with a feature of the embodiment Of the
invention illustrated in FIG. 17, the retainer 222b has
polymer chains, illustrated schematically by lines 262,
which are disposed in a predetermined orientation relative to
the retainer 222h. fn the illustrated embodiment of the
invention, the polymer chains 262 arc orientated with their
longitudinal axes extending parallel to the central axis of the
cylindrical retainer 222b and parallel to the longitudinal axes
of the portions of the suture 224b disposed within passages
in the retainer.

Upon heating of the central portion of the retainer 2225,
the polymer chains 262 of the plastic material in the central
portion of the retainer 222!) contract in an axial direction
Thus, the distance between circular end surfaces 264 and
266 of the retainer 222b decreases to a greater extent and the
outside diameter of the retainer 222[). 'f`his results in a
mechanical gripping of the portions of the suture 224b
disposed within the retainer 222b by the plastic material of
the retainer.

In the embodiments of the invention illustrated in FIGS.
12--17, portions of the suture are disposed in cylindrical
passages which extend through the retainer and have central
axes which are parallel to a central axis of the retainer. ln the
embodiment of the invention illustrated in FIG. 18, portions
of the suture extend through retainer passages which are
skewed relative to the central axis of the retainer. Sincc the
embodiment of` the invention illustrated in FIG. 18 is gen-
erally similar to the embodiments of the invention illustrated
in FIGS. 12e17, similar numerals will be utilized to desig-
nate similar components, the sutlix letter “c” being associ-
ated with the numerals of r`lG. 18 to avoid confusion

ln the embodiment of the invention illustrated in FIG. 18,
a cylindrical retainer 222c is formed of a plastic material A
pair of passages 232c and 234€ are formed in the retainer
222c. A suture 224c, formed of a plastic material, has
portions 238c and 240€ which are received in the passages
or openings 232c and 234€. A central recess 250c is formed
in the retainer 222c to receive a heater elemen1254c when
the plastic material of the retainer 222c is to be heated. The
retainer 222<: and suture 2240 are l`onned of` the same plastic
materials as the retainer 222 and suture 224 of FIGS. 12-15.

ln accordance with a feature of the embodiment of the
invention illustrated in FIG. 18, the passages 2326 and 234c
have central axes which are skewed in an acute angle to the
central axis of the retainer 222c. Thus, the suture 224c is
inserted into the passage 2320 through a circular opening
272 in a circular end surface 266c of the retainer 222c. The
passage 23 2c has axially tapering Side surface which forms
a portion of a cone. The axially tapering configuration of the
side surface of the passage 232c enables the side surface of
the passage to securely grip the suture 224c at a location
where an oval opening 274 is formed in the cylindrical outer
side surface ofthc retainer 222c. Thc longitudinal central
axis of the passage 2326 is skewed at an acute angle relative
to the central axis of the cylindrical retainer 222c.

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The portion 240c of the suture 224c is inserted into the
passage 234€. The passage 234c has the same tapered
configuration as the passage 232¢. The longitudinal central
axis of the passage 234¢' is skewed at an acute angle to the
central axis of the cylindrical retainer 222c. The longitudinal
central axis of the passage 23¢|¢l is also skewed at an acute
angle to the central axis of the passage 232¢‘.

During use of the apparatus illustrated in FIG. 18, the
suture 224c is placed in a desired position relative to body
tissue 22tic and 228€. The portions 238c and 240c are then
inserted through the passages 2320 and 234¢: in the retainer
222c‘ The suture 224c the then tightened to position the
retainer 222c relative to the body tissue 226c and 228€.

()ncc this has been done, thc material of the retainer 222(:
is heated by inserting a heater element 254c into the recess
250c in the central portion of the retainer 222c. in this
specific embodiment of the retainer 222c illustrated in FIG.
18, thc polymer chains of the plastic material forming the
retainer 222c are oriented with their longitudinal axes
extending parallel to the longitudinal central axis of the
retainer 222€, in the same manner as illustrated schemati-
cally by the lines 262 for the retainer 222}) in FIG. 17.
Thereforc, upon heating of the retainer 222<:, the polymer
chains contract to grip the portions 2320 and 234<: under the
inliucncc offerees extending transversely to the longitudinal
central axes ol` the portion 238€ and 240c of the suture 224c.

As the material in the central portion of the retainer 222c
is heated into its transition temperature range, the material of
the retainer flows around the portions 2380 and 240c of the
suture 224c disposed in thc passages 232€ and 2340. 'l`he
temperature of the material forming the retainer 222€ is
maintained at a temperature which is below the transition
temperature for the plastic material of the suture 224€.
'l'herefore, the plastic material of the retainer 222c llows
around the plastic material of the suture 224c without
signilicant deformation of the suturc.

A secure bonding of the plastic material ol` die retainer
222c to thc plastic material of the suture 224c is obtained by
cooling the material of the retainer to a temperature below
its transition temperaturel This secure bonding is obtained
without significant deformation of the suture 224c so that the
suture maintains its strength and is capable of holding the
body tissue 226c and 228c in a desired manner

From the foregoing, it is apparent that the apparatus and
methods of the embodiments of thc invention illustrated in
FIGS. 12 j18 may be used in suturing body is tissue. A
portion 238 of a suture 224 is inserted into an opening in a
retainer 222 formed of a plastic material. At least a portion
of the retainer 222 is heated to a temperature in a transition
temperature range of the plastic material forming the
retainer. The suture 224 is maintained at a temperature
below the transition temperature range ofa plastic material
forming the suture while thc retainer 222 is hcated. The
plastic material of the retainer 222 llows around the plastic
material of the suture 224. A bonding of the plastic material
ofthe retainer 222 to the plastic material of the suture 224
is effected by cooling the plastic material of the retainer to
a temperature below its transition temperature range The
foregoing steps are performed without significant deforma-
tion of the plastic material of the suture 224. lt should be
understood that the plastic materials of the sutures and
retainers of the embodiments ol` the invention illustrated in
FIGS. 1648 are interconnected in the same manner as the
embodiment of FIGS. 12-15.

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From the above description of the invention, those skilled
in the art will perceive improvements, changes and modi-
lications. Such improvements, changes and modifications
within the skill of the art are intended to be covered by the
appended claims.

What is claimed is:

1. A surgical device t'or implantation in a body compris-
ing:

an implant, at least a portion of which is expandab]e; and

a polymeric material bonded to the implant,
wherein the polymeric material is a thermoplastic, includes
a therapeutic agent, is non-liowable and non-adherent at
room temperature and becomes llowable, tacky, and adher-
ent upon the application of heat.

2. The surgical device of claim 1 wherein the therapeutic
agent is a tissue ingrowth promotcr.

3. The surgical device ofclaim l wherein the therapeutic
agent is an antibiotic

4. 'lhe surgical device of claim 3 wherein at least a portion
of the implant is made of metal_

5. 'l`he surgical device of claim 4 wherein the implant
includes a plurality of transverse ribs and a plurality of
longitudinal ribs.

6. The surgical device of claim 4 wherein the implant
includes a plurality of barbs for enhancing tissue engage-
ment.

7. The Surgical device of claim 6 wherein the polymeric
material covers at least a portion of the implant.

8. The surgical device of claim 7 wherein the polymeric
material is bonded to thc implant by the application of heat.

9. The surgical device of claim 8 wherein the heat is
limited to a temperature tolerated by a human body.

ltl. The surgical device ofclaim 9 wherein the polymeric
material has a transition temperature below about 190“ C.

11. A.n implantablc device for implantation in a human
patient having a generally cylindrical body with a lumcn
extending longitudinally therethrough, at least a portion of
the body including a metallic material and at least another
portion of the body including a polymeric material bonded
to the metallic material, the polymeric material including a
therapeutic agent, being non-llowable and non-adherent at
mom temperature, and becoming flowah]e, tacky, and adher-
ent upon the application ot` heat.

12. The device of claim ll wherein a tissue-contacting
surface of the body includes the polymeric material

13. The device of claim 12 wherein the therapeutic agent
is included within the polymeric material

14. The device of claim 13 wherein the therapeutic agent
is an antibiotic

15. 'l`he device ofclaim 11 wherein at least a portion ofthe
body is expandable.

16, The device of claim 15 wherein the expandable
portion of the body conforms to tissue against which thc
expandable portion abuts.

17. The device of claim 16 wherein a tissue-contacting
surface of the expandable portion of the body conforms to
the tissuc.

18. The device ol`claim 17 wherein the tissue-contacting
surface is a vessel-contacting surfacel

19. The device of claim 11 wherein the body includes ribs.

20. The device of claim 19 wherein the ribs are generally
longitudinal to the body.

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(10) Patent No.: US 7,217,290 132

 

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BONDABLE MATER[AL WITH A U_S_ PATENT DOCUWNTS
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patent is extended or adjusted under 35 WO WU 91_12779 9;1991

U.S.C. 154(b) by 545 days.
(2]) Appl. No.: 10/295,127
(22) Filcd: Nov. 15, 2002

(65) Prior Publication l)stn
US 2003/0069605 Al Apr. 10, 2003

Relsted U.S. Applicution Data

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(51) lnt. Cl.

AsiF 2/02 (2006.01)
AGH*' 2/08 (2006.0])
(52) U.S. Cl. . 623)'11.11;6231'13.12;
623/2032
(58) Field of Classiiication Search ............. 623/11.11,

623/13.12, 20.32
Scc application tile for complete search history.

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(57] ABS'I`RACT

Surgical devices such as implants or suture fastenings are
assembled from a plurality of discrete eornponents, one of
which components includes a heat bondable plastic material
for bonding the components together At least two compo-
nents are bonded to each other by the applying heat to the
heat bondable plastic material of one component. The heat
bondable plastic materiai is preferably a polymeric or com-
posite material suitable for surgical applications and implan-
tation in humans, and may be a biodegradable material A
laser may be used as the heat source. The present invention
is advantageously embodied in heat bonded fastenings l`or
sutures or K-wires, in which a variety of different suture
anchors are usab]e, including expandable distal suture
anchors. Other embodiments include a metal bone plate
which is held to bone by a metal bone screw and a nut of
bondable material bonded to the plate to secure the connec-
tion‘, a piece of bondable material bonded to a metal pros-
thesis to custom tit the prosthesis; and a surgical implant
custom formed by bonding together a plurality of discrete
elements one or more of which is bondable.

22 C]aims, 7 l)rawing Sheets

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FigAB

 

 

  

 

Fig.6

 

 

 

 

 

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Fig.QA' """=

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Fig.QB"

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172\_ §
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Fig.11C

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Fig.14 Fig.15

 

 

 

 

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]
SURGICAL DEVICES CONTAINING A HEAT
BONDABLE MATERIAL W[TH A
THERAPEUTIC AGENT

CROSS-REFERENCE RELATED APPL]CATIONS

This application is a continuation ol`U.S. patent applica-
tion Ser. No. 09!737,380, filed Dec. 15, 2000, now U.S. Pat.
No. 6,503,26’1', which in turn is a continuation ofU.S. patent
application Ser. No. 09/362,279, filed .lu]. 27, 1999 (now
U.S. Pat. No. 6,203,565 Bl). "fhe aforementioned applica-
tion Ser. No. 091'362,2’1'9 is itself a continuation of` U.S.
patent application Ser. No. 09/267,555 filed Mar. 12, 1999
(now U.S. Pat. No. ti,059,817). The aforementioned appli-
cation Ser. No. 09/261',555 is itselfa divisional U.S. patent
application Ser. No. 091'0}9,511, filed Feb. 5, 1998 (now
U.S. Pat. No. 5,928,267). The aforementioned application
Ser. No. 09/0]9,511 is itself a divisional of U.S. patent
application Ser. No. 081'782,595, filed Jan. 13, 1997 (now
U.S. Pat. No. 5,735,875). The aforementioned application
Ser. No. 08/782,595 is itself a divisional of U.S. patent
apllication Ser. No. 08/453.631, filed May 30, 1995 (now
U.S. l’at. No. 5,593,425). rl`he aforementioned application
Ser. No. 08/453,631 is itself conlinuation-in-part of U.S.
patent application Ser. No. 0'71'333,085 filed Feb. lO, 1992
(now abandoned). 'll'ie aforementioned application Ser. No.
07/833,085 is itself n divisional of U.S. patent application
Ser. No, 07/545,919, filed .lun. 28, 1990 (now U.S. Pat. No.
5,]63,960). The benefit of the earlier filing dates of the
aforementioned applications is hereby claimed

FIELD OF THE lNVEN'l'ION

'fhe present invention relates to surgical devices such as
implants or suture fastenings.

BACKGROUND OF 'l`llE lNVlENTION

Mundeli U.S. Pat. No. 4,506,681 shows the use of a
prosthesis which includes a biodegrndable thermoplastic
material molded around electric resistance elements to allow
for heating to soften to mold to a particular shape.

Polonsky U.S. Pat. No. 4,662,068 discloses cutting off
most of` the protruding ends of a plastic suture and heating
them to secure the ends together.

Jacobs U.S. Pat. Noi 4,'."5{),492 Shows crimping or clip-
ping a biodegradable fastener or reminer on the end of a
biodegradable suture.

The compound methyl methacrylate is an acrylic resin
monomer which is sometimes used in surgery lo fasten or
grout implants of metal to bone, or hip or knee replacements
to bone. lt is usable only for bone to metal applications
Tissue reacts to it and in soft tissue it creates a fibrous scar.
liurther, it is not biodegradable.

SUMMARY OF THE lNVEN'l`lON

The present invention includes an assembly l'or use in
surgical applications in humans. The assembly may include
two components, at least one of which comprises a heat
bondable material The first and second components arc
bond to each other by the application of heat to the heat
bondablc material to make the heat bondable material
suften, become tacky, and bond to the other component.

if only one of the components comprises a heat bondable
material, the application of heat to the heat bondable mate-

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rial of that Component causes the heat hondable material to
soften and bond to the other component

If both of the components comprise a heat bondable
material, the application of heat to the heat bondable mate-
rial of the components causes the heat bondable material of
at least one and preferably each component to soften and
bond to the other component.

The assembly can also include a first component, a second
component, and a third component separate from the first
and second components and comprising a heat bondable
material The application of heat to the heat bondable
material of the third component causes the heat bondable
material to sofien and bond to the first and second compo-
nents to interconnect the first and second components

The heat bondable material is preferably a polymeric or
composite material suitable for surgical applications and
implantations in humans, and may be a biodegradable mate-
rial where such is called for by the application

'l`he present invention may advantageously be embodied
in heat bonded l`astenings for sutures or K-wires, in which a
variety of different suture anchors arc usable, including
expandable distal suture anchors. Such suture fastenings are
easier to fomi and stronger than conventional tied knots.
Other examples of assemblies embodying the present inven-
tion may include a metal bone plate Which is held to bone by
a metal bone screw and a nut of bondable material bonded
to the plate to secure the connection; a wedge of bondable
material bonded to a metal prosthesis to custom fit the
prosthesis; and a surgical implant custom formed by bond-
ing together a plurality of discrete elements one or more of
which is bondable. Such embodiments are further described
bclow.

The present invention may also provide a method of
suturiug body tissuc. A portion of a suture is inserted into an
opening in a retainer formed of a plastic material At least a
portion of the retainer is heated to a temperature in a
transition temperature range of the plastic material forming
the retainer. The suture is maintained at a temperature below
the transition temperature range of a plastic material forming
the suture while the retainer is heated. The plastic material
of the retainer flows around the plastic material of the sutunc.
A bonding of the plastic material ofthe retainer to the plastic
material of the suture is effected by cooling thc plastic
material of the retainer to a temperature below its transition
temperature range 'I`he foregoing steps are performed with-
out significant deformation of the plastic material of the
suture.

BR!EI" DESCRIPTION OF THE DRAWINGS

Further features of the present invention will become
apparent to those skilled in the art to which the present
invention relates from reading the following specification
with reference to Lhe accompanying drawings, in which:

FIG. 1 is an illustration of ametal bone plate which is held
to bone by a metal bone screw and a nut of bondable material
bonded to the plate to secure the connection in accordance
with one of the features of the present invention;

FIG. lA is an illustration of a bone plate of bondable
material which is held to bone by a bone screw and nut both
of bondahle material and bonded to each other to secure the
cunnectiori;

FIG. 2 illustrates the use of`a bonded fastening in accor~
dance with one of the features of the present invention to
obtain increased holding power on a fastener extending
through a hone;

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FIG. 3 is an illustration of a wedge of bondable material
bonded to a metal hip prosthesis to custom fit the prosthesis',

FlGS. 4A and 413 are illustrations ofa wedge ofbondable
material bonded to a metal tibial prosthesis to custom fit the
prosthesis;

FIG. 5 is an illustration of a surgical implant custom
formed by bonding together a plurality of discrete bondable
clements;

FIG. 6 is an illustration of` the use of a third component of
bondable material to custom form a surgical implant by
bonding together a plurality of discrete elemettts;

FIGS. 7A-7C are illustrations of a bonded suture fasten-
ing in accordance with one of the features of the present
invention;

FIGS. SA 81 are schematic illustrations of a variety of
different suture anchors usable in bonded suture fastenings;

FIGS. 9A ¢9D are illustrations of an expandable distal
suture anchor usable in bonded Sut'tlrt: fastenings;

FlG. 10 illustrates the use of a carved hole in tissue parts
to be joined with bonded fastenings on either end of the
joining element;

FIG. llA-llC are illustrations of a bonded rivet in
accordance with one of the features of the present invention;

FIG. 12 is a schematic sectional view illustrating the
manner in which a suture is placed relative to body tissue
and extends into openings in a rctainer;

FIG. 13 is a plan view, taken generally along the line
13i13 of FIG. 12, further illustrating the construction of
the retainer;

FIG. 14 is an enlarged fragmentary sectional view of a
portion of FIG. 13',

FIG. 15 is an enlarged fragmentary sectional vicw, gen-
erally similar to FIG. 14, illustrating the mainer in which the
retainer is bonded to the suture without significant defor-
mation of the suture',

FIG. 16 is a fragmentary sectional view generally similar
to FIG. 15, illustrating the manner in which the retainer is
bonded to a braidcd suture;

FIG. 17 is a schematic illustration, generally similar to
FIG. 12, schematically illustrating the orientation of poly-
mer chains relative to the relainer; and

FIG. 18 is a fragmentary sectional view, generally similar
to FIG. 12, illustrating a second embodiment of the retainer.

DETAILED DESCRIPTION OF THE,
lNVi£NTION

In this application1 the term “bondable" or “bondable
material" is used to refer to any material, suitable for use in
surgical applications, which can be softened and made
flowable by the application of heat, and which, when soft~
ened, will become tacky and bond to other materials and will
flow to fill available spacc. 'l`hus, thc material may be
thermoplastic, but it may also exhibit tackiness or bonding
ability when in its plastic form. Many materials suitable for
surgery are made of or incorporate such heat bondable
materials Many biodegradables, polymers such as polyeth-
ylene, and composites fall in this class. They can be joined
by heat bonding at reasonably low temperatures which can
be applied in the operating room safely1 unlike the very high
temperatures needed to melt metal Composite materials can
include reinforced plastics, or polymers which are laminated
or layered or reinforced with one or more other materials
such as nylon, graphite tibers, Kevlar® fibers, stainless steel
tibers, ctc, Many sun\rcs arc made of polymers which arc
suitable for use herein. Selection of such material is within
the ordinary skill of` the art.

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Various components of at least some embodiments of the
invention arc formed ofa plastic material A plastic material
is a material which contains one or more polymers and
which may also contain other materials such as fillers,
solvents1 plasticizers, lubricants, accelerators, dyes, etc. An
interconnection or bond between plastic materials occurs as
a result ofmolecular attraction (adhesion) and/or mechanical
force resulting from shrinking of the plastic material A
transition temperature range of` the plastic material is a
temperature range at which thc plastic material changes
from a solid condition in which it has a fixed form to a
viscous condition in which the material readily flows and is
soft enough to be molded.

Any suitable heat generating apparatus can be used to heat
and soften or spot weld the material, such as a hot air gun,
a small welding or soldcring gun, or a Bovie tip. Also usable
are lasers, which are commonly provided in operating
rooms. I,ascrs arc especially desirable because they arc
precise and controlled in their application, can generate
sufficient heat very quickly, and cause less thermal necrosis
because there is less misdirected heat The heating operation
can be done pre-operatively to form an assembly; can be
done outside thc body but in the operating room to custom-
ize implants at the time of surgery; or can be done during
Surgery, in thc body, when the bond is needed within the
human body.

FIRST EMBODIMEN'I`

FlGS. 1 and 2 illustrate heat bonded assemblies including
existing surgical objects such as plates, screws, etc. ]n FIG.
1, a bone plate 10 is secured to bone material 12 by a bone
Screw 14. "l`he bone plate 1|) and the bone screw 14 are both
made of metal Ordinarily, the bone screw 14 would be
secured to the bone plate 10 by a metal nut threaded onto the
bone screw 14 and run up adjacent the bone plate 10.
llowever, such a connection can loosen and thus destroy the
integrity of the assembly. Accordingly, in accordance with
the present invention, a nut 16 is provided which is made of
or includes a bondable material The nut 16 is threaded on
the bone screw 14 into abutting engagement with the bone
plate 10. Then, the bondable material of the nut 16 is heated
and softened to flow about the joint between the nut 16 and
the bone plate 10, to bond the nut 16 to the bone plate 10.
The nut 16 can also be bond to the bone screw 14 if desired
for a stronger connection

FIG. lA illustrates an assembly similar to FIG. 1 in which
a bone plate 18 and a bone screw 20 both made of or
including bondable material are provided The nut 16 (Fl(i.
1) is not used. lnstead, the bone screw 20 is bonded directly
to the bone plate 18 at an area 22.

As noted, ordinarily a bone plate is held to bone via a
threaded fastener such as the bone screw 14 or 2[| in FIG. 1.
However, the bone is alive and is constantly remodeling the
threads on the bone screw. As this happens, the fastener loses
its purchase or holding power in the bone, and the screw can
pull loose. Accordingly, it would be desirable to obtain rnore
purchase by a different kind of fastener

FIG_ 2 illustrates the use of a bonded fastening in accor-
dance with the present invention to obtain increased holding
power. The fastener extends completely through a tissue
mass such as a bone 160, for example to secure a plate in
position against the bone. An elongate fastener 162, which
may be metai or may be made of or include a bondable
matcrial, is inserted through an opening in the bone 160. A
distal fastener 164 is secured to the distal end of the screw
162 by a plug of bonded material 166. The plate 168 is then

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placed over the bone screw, and a proximal fastener 170
made ofor including a bondablc material is bonded to either
or both of the screw 162 and the plate 168. The elongate
fastener 162 may optionally also be threaded in the portion
engaging the bone 160. The elongate fastener 162 may
optionally also be threaded in the portion engaging the
fastener 164 andfor the fastener 1701

The bonded fastenings obtained thereby are stronger than
is possible with either a threaded connection or a tied or
crimped connection Further, there is no reliance on a
threaded connection between bone and fastener which will
inevitably weaken over time. Also, bone screws are threaded
and are always straight The elongate fastener 162 need not
be straight because it need not be threaded. 'lhus, it can bc
Curved, or angled, as needed or desired to lit any particular
application In combination with the bonded connection of
the fasteners at the ends of the elongate fastener, such a
Stt'uct'llre is a vast improvement over a typical metal threaded
fastener.

FIGS. 3 and 4 illustrate surgical assemblies in which an
existing surgical prosthesis or implant has been modified to
better fit the particular application Such prosthescs or
implants come from a manufacturer in only a limited range
of sizes and shapes. l-Iowever, lhe particular bone into which
a prosthesis or implant is to be inserted may have defects or
size discrepancies which would make it impossible to obtain
a good fit with even the closest fitting prosthesis or implant.

In accordance with one of the features of the invention,
the Shape and size oi` a prosthesis or implant are modified to
fit a particular bone. A femoral prosthesis 30 illustrated in
FIG. 3 has been modified with the addition ol` a wedge 32
including heat bondable material in order to better tit a gap
34 in the bone 36. The wedge 32 is custom shaped to ill the
gap 34 exactly. The connection 38 between the wedge 32
and the prosthesis 30 is secured by heating and softening the
wedge 32 so that the material of the wedge 32 adheres or
bonds to the prosthesis 30. 'l'he assembly of the heat
bondable wedge 32 and the femoral prosthesis 30 fits the
femur 36 much more properly than would the prosthesis
alone. This assembly can easily be made right in the
operating room at the time of the joint reductiun, allowing
the surgeon to customize or equilibrate at the time of
surgery

Similarly, in r'lG. 4, a tibia 40 is shown to have an area
ofdefect 42 which makes it impossible to properly tit a tibial
component 44. Accordingly, as seen in FIG. 4B, an clement
46 including a heat bondable material is shaped with heat as
by a laser in the operating room to fit the defect 42. The
element 46 is then bonded to the tibial component 44 prior
to placement thereof in the bone 40. The assembly of the
tibial component 40 and the element 46 provides a proper tit
in the tibia 40. There is no other suitable Way of matching
the requirements of bone and joint in the operating room.

The bone components shown in FIGS. 3 and 4 arc only an
illustration of the many kinds ul` objects which can be used
to form assemblies embodying the present invention lt can
thus be seen, as illustrated in FIGS. 3 and 4, that the present
invention gives the surgeon the ability to immediately
modify the shape and size of almost any existing surgical
part including a prosthesis, in order to better tit the particular
application l`or use in the body. This is accomplished by heat
bonding a piece ofbondable material onto the prosthesis, to
make an assembly designed l`or the particular application
The piece can be custom shaped in the operating room to tit
the application exactly by heating and bonding ol' a polymer
or composite

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FIGS. 5 and 6 illustrate schematica|ly some custom
fabricated implants which can be constructed in accordance
with the present invention. In FIG. 5, a relatively thick plate
50 is joined to a relatively thin plate 52. Both the plate 50
and the plate 52 are made ot`or include a bondable material.
The plates 50 and 52 are joined at the area of the joint 54
between them, by bonding in accordance with the present
invention. A third element such as a stud 56 may be added,
with bonding at lhejoint 58 therebetween Thus, the surgeon
has the ability to laminate pieces in surgery and does not
have to rely on pre-made hardware

lt should be understood that the illustration in FIG. 5 of
plates and a stud is not limiting, but is only illustrative of the
almost limitless number of surgical devices which can be
constructed in accordance with the present invention ltcms
such as rods, bars, plates, or any type of construct usable in
medical/surgical applications object can be custom shaped
or built up in accordance with the present invention They
can be made of polymers or composites which can easily he
cut with a laser and also softened to custom tit. 'l'hey can be
made of or include a biodegradable material in those
instances where it is desired that the material be replaced,
over tiine, with natural tissue ingrowth. 'l`hey can also
include tissue ingrowth pronioters, antibiotics, or other
additives as desired

Rather than having one or both of the components to be
joined made of a bondablc matcrial, a third component can
be used to join them, with the third component being made
of or including a heat bondab|e material. The third compo-
nent is non-flowablc and non-adherent at room temperature
before use. When it is softened by heating and applied to the
first and second compunents, it bonds to both components 10
interconnect them. A laser is ideal for heating the interpo-
sitional bonding material because of the accuracy available
with the laser. As an example, FIG. 6 illustrates an assembly
similar to FIG. 5 in which a plate 60 and a plate 62 and a stud
64 are joined by the use of additional bonding material at
locations 66, 68, 70, and 72. In this case, the plates 60 and
62 and the stud 64 need not be made of heat bondable
matcrials.

For example, a total hip or knee replacement is possible
using components bonded together by heat. if some or all of
the parts are made of heat bondable material such as
polymers or composites, an assembly as described herein
can be produced simply by thc application of heat to bond
the parts together as desired If the replacement does not fit
the existing bone cxactly, it crm be customized at the time of
surgery by cutting as with a laser, by adding as by bonding1
or by heating to bond wedges or pieces to it.

lt can be seen that the present invention also provides the
capability for forming a custom-fit surgical implant for
bonding to a bone or to a bone prosthesis which comprises
a component at least partially formed of a heat-bondable
material which has been custom-shaped by the application
of heat to said heat-bondable material. ln this instanee, the
aforementioned laser is most suitable for forming the
implant. The lasers which are conunonly found in operating
rooms can cut, shapes and otherwise form almost any
suitable material used herein._ including polymers, biode-
gradable materials, and even composites including reinforc-
ing materials The implant can include several components
each having heat-bondable material, or several Components
only one of which includes a heat-bondable material, or it
can be a single component which is custom made for a
particular application Such use of heat to form implants

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provides the surgeon with greatly extended capabilities in
the operating room and does not limit him to pre-formed
implants or prostheses.

SF,C(JNT) EMBODIMENT

lt is dillicult to tie a suture knot to itself or to slide it down
through deep tissue in a limited working area (as in fiber
optic surgery). Typically, the surgeon can often not work in
a straight line but needs to use a suture loop (going throuin
the tissue twice) to bring tissue together. Any such increase
in the amount of tissue through which the suture must pass
increases damage to tissue. Furthermore, mechanical tying
or crimping of sutures or K-wires, especially of polymers or
biodegradables which are generally smooth, does not pro-
duce connections which are as strong as desirablc, and
suture connections sometimes may come untied as a resultl

In accordance with one of the features of the present
invention, surgical connections for holding adjoining tissues
together are secured by melting a fastener or anchor on the
end of a suture, rather than by tying or by clipping the anchor
on the end of the suture. (The term “suture” is used herein
to refer to a suturc, a K-wire, or any similar surgical
connector.) The anchor is pushed over the free end of the
suture down to the tissue, drawing the tissues together
Either the anchor alone or the anchor and the suture are
melted together to lock them into position

\Vith the fasteners of the present invention, therefore, a
surgeon has more control since he can apply more pressure

to push the tissues together and it is easier to appose the _

tissues; the tension on the repaired tissues is more control-
lable, predictable, and reproducible; and the fasteners can be
used in a smaller working space. Further, a melted anchor
provides a stronger bond than the mechanical interlock of a
suture knot, because it will not unravel or come apart as a
surgical knot may. lt takes less time to fasten than it does to
tie a suitable knot. There is improved contact between the
tissues being joined because of the better suture connoction.
The straight line suture fastening also avoids buckling of the
tissue edges caused by force vectors not extending in tlte
direction of the sutune.

Since he only needs one free Suture end to make a secure
connection, the surgeon does not need to use a suture loop,
to bring tissue together, but can work in a straight line. This
lessens damage to tissue because a straight line connection
is easier to obtain than a loop in a limited space. Also, it
improves tissue apposition and approximation when a
straight line fastening is pulled together rather than a loop
which tends to buckle or pucker tissue at the edges because
of the force vectors not directed along the length ol` the
suture.

The fasteners can be used for the fixation of soft tissue,
tendon, ligarncnt, meniscus, musclc, fascia, vessels, nerves
or bones to each other. They can be used, for example, to
hold a rotator cutl' to bone, or to join fracture fragments of
bone to bone. lite anchors can be custom molded, specially
made at the time of surgery (or preoperatively} to conform
exactly to the tissue or bone application

One anchor is secured to the distal end of the suture.
(A]ternativeiy, it may be preformed or connected on the
suture in any known manner of connection.) The suture is
then positioned in the tissues to bejoined, a second anchor
is slid over the free end, pulled down to close the gap, and
melt it in place.

As illustrated in FIG. 7, two pieces oftissuc 80 and 82 are
to be joined using a suture 84. Adistal anchor 86 is located
on the end of the suture 84. The suture is then inserted

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through the tissues 82 and 80 so that a free end 88 of the
suture 84 protrudes at thc proximal cnd. A fastener 90 having
an opening 92 therein is slid over the wire 84 and pulled
down tight as Sl‘towu in l"lG. 'J'C to close the gap 94 between
the tissues 80 and 82.

The fastener 90 is made of a heat bondable plastic
material. (fhe suture can also be made of heat bondable
plastic material which is bonded to secure the connection.)
The fastener 90 is then bonded at an area 96 to the protruding
free end 88 ofthe suture 844 ln FIG. 7C, it can be seen that
the fastener 90 is bonded to the suture 84 without significant
deformation of the suture. Alternatively, the fastener 90 can
be bonded along the length of the opening 92 to the suture
84. Thc protruding end of the suture 84 is then cut oif.
Applicant has found through testing that while a simple
mechanical connection such as a knot or a crimped connec-
tor is not strong enough to hold in some circumstances, the
bonded connection illustrated in FIG. 7 overcomes this
difficulty and Will hold.

FIG. 8 illustrates a few of the litany fasteners Which can
bc used in accordance with the present invention. b`lG. SA
shows a simple square fastener 100 having a suture receiv-
ing opening }02 therein The fastener 104 is round and has
an opening 106 therein The fastener 108 shown in FIG. 8C
includes a plurality of barbs 110 for better gripping in the
tissue against which it engages The fastener 112 shown in
FIG. 8 is umbrella-like in shape, having an outer rib 114 and
a plurality of radially extending ribs 116.

The fastener 118 shown in FIG. SF, is lilamentous, having
a plurality of protruding filaments 120. 'l`he fastener 122
shown in FIG. 8F is a T-snap. The fastener 124 shown in
FIG. SG is curved or cuppcd about the opening 126 so that
its ends 128 and 130 will Hatten as pressure is applied upon
drawing tight the suture. 'l`ne fastener 132 shown in FlGS.
811 and Sl is reinforced with transverse ribs 134 and longi-
tudinal ribs 136 for better strength The ribs 134 and 136
protrude axially from the main body 138 of the fastener.
Finally, any anchor or fastener can be specially made, that is,
custom molded at the time of the surgery or preoperatively
to conform exactly to the tissue against which it will be
abutting.

FIG. 9 illustrates the use of an expandable distal suture
anchor for bonded suture fastenings in accordance With the
present invention in particular, FIG. 9 illustrates the use of
a bonded assembly to secure a tendon 140 to bone 142. To
make the assembly, initially, a cannula or sleeve 144 is
inserted through the tendon to the bone. A gouge 146 is then
used to gauge out an opening 148 in the solt cancellous
tissue under the cortical bone. An expandable anchor 150,
confined in a sleeve 152 and having a suture 154 extending
proximally from the sleeve 152, is inserted through the
canula 144 into the opening 148 in the bone. The sleeve 152
is then withdrawn, allowing the anchor 150 to expand within
the opening 148, blocking removal of the suture.

A fastener 156 made of or including a bondable plastic
material is then slid distally over the suture 154 into engage-
ment with the tendon 140, and then turther, pushing the
tendon 140 into engagement with the bone 142. The anchor
156 is then bonded to the suture ]54, providing a connection
which is stronger than that of` any tied knot. In FIG. 9[), it
can be seen that the fastener 156 is bonded to the suture 154
without significant deformation of the suture. In a similar
manner, art expandable anchor as illustrated herein can be
used with a bonded fastening in any application in which Lhe
anchor must be placed in a blind location 'l'his method can
work also especially well with a barbed or tunbrella-like
anchor as illustrated in FIG. 8C or 8D,

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FIG. 10 illustrates the use of bonded fastenings in accor-
dance with thc present invention in conjunction with a
curved opening in tissue parts to be joined. lllustrated in
FIG. 10 are two portions 172 and 174 of a fractured bone
with their ends abutting at a joint 176. lt is possible to secure
together the bone ends with a suture which extends axially
through the fractured ends ot` the bone, while accessing the
joint only from one Side of the bone. A curved opening 178
is drilled through the first bone part 172 and the second bone
part 174, beginning at the proximal end of the first bone part
172, extending through the joint 176, and exiting at the
proximal face of the second bone part 174. A suture 180 is
then passed through the opening 178. A first fastener 182
made of or including a bondablc plastic material is then
bonded onto the protruding end of the suture 180. The suture
is then pulled tight, and a second fastener 134 also made of
or including a bondable material is pulled down tight against
the proxi.rnal face of the second bone part 174 and bonded
by heating in location to the suture 180. in FIG. 10, it can
be seen that the fasteners 182 and 184 are bonded to the
suture 180 without significant deformation of the suture.

FIG. 11 illustrates the use of a bonded fastening in
accordance with a feature of the present invention in con-
junction with a rivet type fastening. To secure together two
adjoining masses 186 and 183, a sleeve 190 is inserted
through an opening in the tissues until the distal end 192 of
the sleeve projects behind the tissue 186. A mandrel 194 in
the sleeve 190 has a headed portion 196 at its distal end 192.
The mandrel 194 is then pulled outwardly, while the sleeve
190 is held in place, spreading the distal end 192 of the
sleeve to lock the sleeve in place behind tissue 186. The
protruding end ol' the mandrel 194 is then cut otl`llush with
and bonded by heating as at 198 to the head end 200 of the
sleeve This type of bonded connection can be used in
various applications where the surgeon is connecting two
tissue masses with access only from one side thereof

The present invention also is embodied in a method of
making an assembly for use in surgical applications in
humans. 'I`he method comprises the steps of providing a first
component which comprises a heat bondable plastic mate-
rial; providing a second component; and bonding the first
and second components to each other by the application of
heat to the heat bondab]e material to make the heat bondable
material bond to the other component. In the method, the
second component may be a surgical prosthesis or implant,
or it may be a bone plate or bone screw. The heat bondable
plastic material used in the method may be a polymer, a
composite, or a biodegradable rrtaterial.

The present invention also is embodied in a method of
fastening a suture or K-wire to hold together adjoining tissue
masses in a human surgical application. rIhe method corn-
prises the steps ol` inserting the suture into the desired
location in the tissue masses, placing in position on the
suture a suture fastener, and bonding the suture to the
fastener by applying heat to one or both of the fastener and
the suture to bond the fastener to the suture. Further, the
fastener may be mechanically crimped first and then heat
bonded to provide the benefits of both types of fastenings.

The present invention is also embodied in a kit of com-
ponents for forming an assembly by heat bonding for use in
surgical applications in humans and incorporating at least
one heat bondable material. The kit comprises a first com-
ponent and a second component comprising a heat bondahle
material, with the tirst and second components bondable to
each other upon the application of heat to the second
component to make the heat bondable material ol` the second
component bond to the first component The kit may further

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include heat generating means for generating heat to bond
said first component to said second component The com-
ponents and the heat generating means are as described
above with respect to the assemblies

Method and Apparatus for Suturing Body Tissue

An apparatus 220 for use in suturing human body tissue
(FlG. 12) includes a retainer or crimp 222 and a suture 224.
The suture 224 extends through a layer 226 of skin into body
tissue 228 disposed beneath the skin. Although the suture
224 as been illustrated in FIG. 12 in association with soft
body tissue 226 and 228, it is contemplated that the suture
224 could be used in association with relatively hard body
tissue, such as bone. The suture 224 may be placed in many
different locations in the human body for many different
purposes. For example the suture 224 may be used with a
suture anchor in the manner disclosed in U.S. Pat. No.
5,403,348 issued Apr. 4, l995 and entitled Suture Anchor.

The retainer 222 is formed ol` a plastic materiai. The
suture 224 is also formed of a plastic material 1he retainer
222 is bonded to the suture 224 without significant defor-
mation of the suture. 'l`his enables the retainer 222 to
securer hold the suture relative to the body tissue 226 and
228 without impairing the strength of the suture. Although
Lhe retainer 222 has been shown in FIG. 12 as being
connected with opposite end portions of a single suture 224,
the retainer could be connected with end portions of two
Separate sutures.

In thc illustrated embodiment of the invention, thc
retainer 222 has a generally cylindrical configuration (FIGS.
12 and ]3}. The retainer 222 has a pair of linear cylindrical
passages 232 and 234 through which the suture 224 extends.
Thus, a portion 238 of the suture 224 extends through the
passage or opening 232. A portion 240 ol' the suture extends
through the passage or opening 234 (FIG. 12).

ln lhc suture arrangement illustrated in FIG. 12, a con-
nector portion 242 of the suture 224 interconnects the two
portions 238 and 240. Il` desired, the connector portion 242
of the suture 224 could extend through a suture anchor. lt is
contemplated that the connector portion 242 of the suture
224 could extend around ligaments or other human body
tissue. lt is contemplated that t_be retainer 222 could be used
to intercorth sutures in a series of sutures.

At`ter the two portions 238 and 240 of the suture 224 have
been inserted into the passages or opening 232 and 234 in
the retainer 222, the retainer and suture are interconnected to
hold the suture against movement relative to the body tissuc.
To interconnect the retainer and the portion 238 of the suture
224, the plastic material of the retainer 222 is heated to a
temperature in a transition temperature range of the plastic
material of the retainer 222. The plastic material of the
suture 224 is maintained at a temperature below the transi-
tion temperature range of the plastic material forming the
sulure.

Thus, in the specific embodiment of the invention illus-
trated in FlGS. 12¢15, the plastic material of the suture 224
has a transition temperature range which is above 190°
Celsius. The specific retainer 222 illustrated in FIGS. 12_15
has a transition temperature range which is below l90°
Celsius. IIowever, it should be understood that at least a
portion of or even the entire transition temperature range for
the suture 224 could be coextensive with the transition
temperature range for thc retainer 222. l_n fact, the transition
temperature range ol` the suture could extend below the
transition temperature range of the retainer. However, it is

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believed that it will be advantageous to have a higher
transition temperature range for the suture than for the
retainer.

Once the plastic material of the retainer 222 has been
heated to a temperature in the transition temperature range
for the plastic material of the retainer, the plastic material of
the retainer flows around the plastic material of the suture
224. This occurs while the plastic material of the suture 224
is maintained at a temperature below the transition tempera-
ture range of the plastic material of the suturc. Thus, the
portion of the plastic material of the retainer 222 forming the
passage 232 (FIG. ].4) is heated to a temperature in its
transition temperature range. The plastic material of the
retainer 222 then flows inwardly around the portion 238 of
the suture 224 to eliminate the passage 232 (FIG. 15).

As this occurs, the portion 238 ofthe suture 224 maintains
its original configuration and is not significantly del`ormed.
Thus, an outer side surface 242 of the suture 224 has the
same cylindrical contiguration along the length of the suture
both in the areas where the outer side surface of the suture
is exposed to the heated material of the retainer 224 and in
the areas where the suture is not exposed to the heated
material of thc retainer 222. By maintaining the configura-
tion of the portion 238 of the suture exposed to the heated
material of the retainer 222 constant, the suture 224 is not
weakened in the areas where it is exposed to the heated
material of the retainer.

Aher the material of the retainer 222 has been heated and
Hows around the portions 238 and 240 of the suture 224, in
the manner illustrated schematically for the portion 238 of
the suture in FlG. }5, the heated plastic material of the
retainer iS cooled to a temperature below the transition
temperature range of the plastic material of the retainer. As
the plastic material ofthe retainer is cooled to a temperature
below its transition temperature range, the plastic material of
the retainer bonds to the suture 224. Thus, the plastic
material of the retainer 222 bonds to the portion 233 of the
suture 224 and bonds to thc portion 240 of thc suture.

As the plastic material ol` the retainer 222 is cooled and
bonds to the outer side surface 242 of the suture 224, a
Secure interconnection occurs between the material of the
retainer 222 and the material of the suture 224 at the portions
238 and 240 of the suture. The interconnection between the
material of the retainer 222 and the material of the portion
238 and 240 of the suture is the result of both molecular
attraction (adhesion} of the material of the retainer 222 to the
material of the suture 224 and due to a mechanical inter-
connection between the material of the retainer 222 and the
material of the suture 224. Thus, as the material of the
retainer 222 coois, il mechanically grips the Suture 224 50
that the suture is held against movement relative to the
retainer by interfacia] forces between the material ol` the
retainer and the material of the suture. Thus, there is a fusing
ol` the material ol` the retainer 222 to the material ol` the
suture 224 along the portions 238 and 240 of thc suture.

'lhe Suture 224 is formed ofa plastic material Which may
be a biopolymer. In one specific embodiment of the inven-
tion, the suture is formed of polyglycolide (P-G) (C4i-1404)
which is commercially available under the trademark
Dexon. Polyglycolide is a crystalline material (40--55%
crystallinity) that melts at about 225° Celsius. Although the
suture 224 is a monolilament suture having a continuous
cylindrical outer side surface 242, it is contemplated that this
suture could be formed in a dill`crent manncr. For example,
the suture could be a braided suturc.

lt is also contemplated that the suture 224 may be formed
of a high glycolide-based copolymer, specifically a 10/90

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P-Ll.!(i (lt`l% poly l-lactide and 90% glycolide) which is
commercially available under the trademark “Vicryl”. “Vic-
ryl” is a crystalline material that melts at about 205° Celsius.
“Vicryl” can be used for either a mouofilament or braided
suture.

'l`he retainer 222 is also a plastic material which may be
a biopolymer. In one specitic embodiment of the invention,
the retainer 222 is formed of poly dl lactide (P-DLL)
(C§lla(h) and is amorphous and has a processing tempera-
ture of approximately 120° Celsius. 'l`l_ie transition tempera-
ture range of poly dl lactide will vary depending upon the
specific characteristics of the material However, the retainer
222 of FlGS. 12-15 had a transition temperature range of
from about 75° Celsius to about 120“ Celsius.

In another specific embodiment of the invention, the
retainer 222 is formed of poly dl lactide (P-DLL) (CBHSO,J
and poly l lactide (P-LL) (C§I-1304) copolymer and is a
material having a melt temperature of approximately 165u
Celsius. 'l`he transition temperature range of the poly dl
lactide and poly l lactide copolymer will vary depending
upon the specific characteristics of the copolymer and is
from about 75" Celsius to about 180“ Celsius. In still another
specific embodiment of thc invention, the retainer 222 is
formed of poly l lactide (P-[.L) and has a melt temperature
of approximately 145°¢]85" Celsius. A transition tempera-
ture range of poly l lactide is from about 70" Celsius to
about 1850 Celsius.

lt is contemplated that the retainer 222 may be formed of
many different types of plastic materialsl However, it is
believed that biopolymcrs trtay be preferred lt is contem-
plated that polymers of tactic acid, lactides l-lactides, and
isomers of lactic acids and/or lactides may be prel`erred. Ol`
course, the suture 224 can also be formed of many different
types of plastic materials

Although it is presently preferred to form the suture 224
and retainer 222 of different uraterials, the suture and
retainer could be formed of the same material if desired. By
forming the sumre 224 of a material having a transition
temperature range which is at least partially above the
transition temperature range of the retainer 222, bonding of
the retainer to the suture without significant deformation of
the suture is facilitated

in the embodiment of the retainer 222 illustrated in l"lGS.
12 and 13, the plastic material of the retainer 222 is heated
to a temperature in its transition temperature range by
applying heat to a portion of the retainer disposed between
the two passages 232 and 234. This results in a central
portion of the plastic material forming the retainer 222 being
heated into its transition temperature range while the outer
circumference of` the cylindrical retainer 222 is maintained
at a temperature below the transition temperature range of
the plastic material ol` the retainer.

In the specilic embodiment of the retainer 222 illustrated
in FIGS. 12 and 13, a generally conical recess 250 is formed
in the central portion of the retainer 222. The recess 250
(l"lG. 13) is spaced equal distances from the passages 232
and 234 and has a central axis which is parallel to the central
axes ol` the passages 232 and 234. The central axis ol` the
recess 250 is coincident with a central axis of the cylindrical
retainer 222. In this speeiiic embodiment of the invention, a
heater element 254 having a conical end portion 256 is used
to heat the retainer 222. Of course, other dcvices, such as a
laser, could be used to heat the retainer 222.

Al`ter the portions 238 and 240 ol` the suture 224 have
been inserted into the openings or passages 232 and 234 and
the suture and retainer moved to the desired positions
relative to the body tissue 226 and 2281 the heater element

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254 is inserted into the recess 250. l-leat is conducted from
the heater element 224 to the plastic material in the central
portion of the retainer 222. The plastic material in the central
portion of the retainer 222 is heated into its transition
temperature range. As this occurs, the plastic material in the
central portion of the retainer 222 changes from a solid
condition in which it has a lixed form to a viscous condition
The plastic material adjacent to the cylindrical outer side
Surface of the retainer is nol heated into the transition
temperature range and maintains its original configurationl

When the plastic material in the central portion of the
retainer 222 has been heated into the transition temperature
range and has a viscous condition, the material readily news
and molds itself around the outer side surface 242 (FIG. 15)
of the suture 224. As this occurs, the configuration of the
suture 224 remains unaltered and there is no significant
deformation of the suture 224. The heating element 254 is
then removed from the recess 250 and the plastic material of
the retainer 222 is cooled to a temperature below the
transition temperature ofthe material . As the plastic material
of the retainer 222 is cooled to a temperature below its
transition temperature, the plastic material bonds to the
sttture 224 to provide a solid interconnection between the
retainer and the suture.

ln the embodiment of the invention illustrated in FIGS.
12e15, the suture 224 is a monotilarnent suture. in the
embodiment of the invention illustrated in FIG. 16, the
suture is a braided suture. Since the embodiment of the
invention illustrated in FIG. 16 is generally similar to the
embodiment of the invention illustrated in l"l(jS. 12-15,
similar numerals will he utilized to designate similar corn-
ponents, the sul]ix letter (a) being associated with the
embodiment of the invention illustrated in FIG. 16 to avoid
confusion

A retainer 222c formed cfa plastic material is bonded to
a suture 2240 by heating die plastic material of the retainer
2220 into its transition temperature range. Al"ter the plastic
material of thc retainer 2220 has flowed around the suture
2240 while the plastic material of the suture is at a tem-
perature below the transition temperature range ol` the plastic
material of the suture, the plastic material of the retainer is
cooled to a temperature below the transition temperature
range of the plastic material Ol` the retainer. As the plastic
material of the retainer 2220 is cooled, a secure bond is
obtained between the plastic material of the retainer 222c
and the Suture 224a. 'l'his secure bond is obtained without
significant deformation of the suture 224a.

ln accordance wi1h a feature of the embodiment of the
invention illustrated in FIG. 16, the suture 224a is a braided
suture. Thus, the suture 224a is formed by plurality of
monofilament strands which are intertwined to form the
braided suture 224r2. When the plastic material of the
retainer 222c is heated to a temperaer above its transition
temperature, the plastic material of the retainer 222c flows
between and around the strands of the braided suture 224a.
Upon cooling of the plastic material of the retainer 222¢1 to
a temperature below its transition temperature, a secure bond
is obtained between the material of the retainer 222a and the
strands of the braided suture 224a.

ln the embodiment ol` the invention illustrated in FIG. 17,
the polymer chains of the plastic material forming the
retainer are oriented relative to the suture. The orientation of
the polymer chains of the retainer are such that the bonding
which is obtained between the suture and the retainer
includes a mechanical interconnection due to contracting of
the polymer chains as the plastic material of the retainer is
heated Since the embodiment of the invention illustrated in

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FIG. 17 is generally similar to the embodiment of the
invention illustrated in FIGS. 12-15, similar numerals will
he utilized to designate similar components, the sule letter
“h" being associated with the numerals of FIG. 17 in order
to avoid confusion

The retainer 222c has a generally cylindrical con.ligura-
tion. The suture 224b has portions which extend through the
retainer 222!). Portions of the suture 224b are disposed in
passages (not shown) corresponding to the passages 232 and
234 of FIG. 12. The retainer 222b and suture 224b are
formed of the same plastic materials as the retainer 222 and
suture 224 of FlGS. 12-15.

ln accordance with a feature of the embodiment of the
invention illustrated in FIG. 17, the retainer 222b has
polymer chains, illustrated schematically by lines 262,
which are disposed in a predetermined orientation relative to
the retainer 222b. In the illustrated embodiment ol` the
invention, the polymer chains 262 arc orientated with their
longitudinal axes extending parallel to the central axis of the
cylindrical retainer 222/9 and parallel to the longitudinal axes
of the portions of the suture 2241) disposed within passages
in the retainer.

Upon heating of the central portion of the retainer 222b,
the polymer chains 262 of the plastic material in the central

, portion of the retainer 222b contract in an axial direction.

Thus, the distance between circular end surfaces 264 and
266 ofthe retainer 222b decreases to a greater extent and the
outside diameter of the retainer 222b. This results in a
mechanical gripping of the portions of the suture 2245
disposed within the retainer 222b by the plastic material of
the retainer.

ln the embodiments ol` the invention illustrated in FlGS.
12~~17, portions of the suture are disposed in cylindrical
passages which extend through the retainer and have central
axes which are parallel to a central axis of the retainer. In the
embodiment of the invention illustrated in l"lG. 18, portions
of the suture extend through retainer passages which are
skewed relative to the central axis of the retainer. Since the
embodiment of the invention illustrated in FIG. 18 is gen-
erally similar to the embodiments of the invention illustrated
in FIGS. 12-1"¢'1 similar numerals will be utilized to desig-
nate similar components, the suliix letter “c” being associ-
ated with the numerals of FIG. 18 to avoid confusion

In the embodiment ofthe invention illustrated in FIG. 18,
a cylindrical retainer 222c is formed of a plastic material. A
pair of passages 232c and 234c are formed in the retainer
222cl A suture 2240, formed of a plastic material, has
portions 2380 and 240c which are received in the passages
or openings 2320 and 234{:. A central recess 250c is formed
in the retainer 222c to receive a heater element 2546 when
the plastic material of the retainer 222c is to be heated The
retainer 222c and suture 224c are formed oi` the same plastic
materials as the retainer 222 and suture 224 ofFIGS. 12»15.

ln accordance with a feature of the embodiment of the
invention illustrated in FIG. 18, the passages 232c and 234:'
have central axes which are skewed in an acute angle to the
central axis of the retainer 222c. Thus, the suture 224c is
inserted into the passage 232c through a circular opening
272 in a circular end surface 266c of the retainer 222c. The
passage 232c has axially tapering side surface which fomis
a portion ofa cone. The axially tapering configuration of the
side surface of the passage 232c enables the side surface of
the passage to securely grip the suture 224€ at a location
where an oval opening 274 is formed in the cylindrical outer
side surface of the retainer 222c. The longitudinal central
axis of the passage 232c is skewed at an acute angle relative
to the central axis of the cylindrical retainer 222c.

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The portion 2400 of the suture 2246 is inserted into the
passage 234c. The passage 234c has the same tapered
configuration as the passage 232c. The longitudinal central
axis ol` the passage 234¢' is skewed at an acute angle to the
central axis of the cylindrical retainer 222c. The longitudinal
central axis of the passage 234c is also skewed at an acute
angle to the central axis ol` the passage 2320.

During use oi` the apparatus illustrated in FIG. 18, the
suture 224c is placed in a desired position relative to body
tissue 226c and 22Sc. The portions 238c and 2400 are then
inserted through the passages 232c and 234c in the retainer
222c. The suture 224c the then tightened to position the
retainer 222c relative to the body tissue 226c and 2281:.

Once this has been done, the material of the retainer 222c
is heated by inserting a heater element 254c into the recess
2500 in the central portion of the retainer 222c ln this
specific embodiment of the retainer 222c illustrated in FIG.
18, the polymer chains of the plastic material forming the
retainer 222c are oriented with their longitudinal axes
extending parallel to the longitudinal central axis of the
retainer 222c, in the same manner as illustrated schemati-
cally by the lines 262 l`or the retainer 222b in FIG. 17.
Therefore, upon heating of the retainer 222cj the polymer
chains contract to grip the portions 2320 and 234c under the
influence offerees extending transversely to the longitudinal
central axes of the portion 238c and 240c of the suture 2240

As the material in the central portion of the retainer 222c
is heated into its transition temperature range, the material of
the retainer liows around the portions 238c and 240€ of the
suture 224c disposed in the passages 232€ and 234€. 'l`he
temperature of the material forming the retainer 222c is
maintained at a temperature which is below the transition
temperature for the plastic material of the suture 224c.
Therel‘ore, the plastic material oll the retainer 222c flows
around the plastic material of the suture 2240 without
significant deformation of the suture.

A secure bonding of the plastic material of the retainer
222c to the plastic material of the suture 2246 is obtained by
cooling the material of the retainer to a temperature below
its transition temperature This secure bonding is obtained
without significant deformation ofthe suture 224€ so that the
suture maintains its strength and is capable of holding the
body tissue 226c and 228c in a desired manner.

From the foregoing, it is apparent that the apparatus and
methods of the embodiments oi` the invention illustrated in
FIGS. 12-18 may be used in sutun'ng body is tissue A
portion 238 of a suture 224 is inserted into an opening in a
retainer 222 formed of a plastic matcrial. Ar least a portion
of` the retainer 222 is heated to a temperature in a transition
temperature range of the plastic material forming the
retainer. The suture 224 is maintained at a temperature
below the transition temperature range of a plastic material
forming the suture while the retainer 222 is heated. The

plastic material of the retainer 222 flows around the plastic 7

material ol` the suture 224. A bonding o[` the plastic material
of the retainer 222 to the plastic material of the suture 224
is ell`ected by cooling the plastic material of the retainer to
a temperature below its transition temperature range The
foregoing steps are performed without significant deforma-
tion of the plastic material of the suture 224. lt should be
understood that the plastic materials of the sutures and
retaincrs of the embodiments of the invention illustrated in
FIGS. 16--18 are interconnected in the same manner as the
embodiment of` FIGS. 12-15.

From the above description of the invention, those skilled
in the art will perceive improvements, changes and modi-

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lications. Such improvements, changes and modifications
within the skill of the art arc intended to he covered by thc
appended claims.

What is claimed is:

1. An implant for implantation in a human body compris-
ing:

a tubular member having a channel and mechanically
expandable upon activation of a delivery mechanism
from a contracted condition in which the tubular mem-
ber has a lirst cross sectional size in a plane perpen-
dicular to a longitudinal central axis of the tubular
member to an expanded condition in which at least a
portion of the tubular member has a second Ct'oSs
sectional size in a plane perpendicular to the longitu-
dinal central axis of the tubular member, the second
cross Sectional size being larger than the first cross
sectional size to thereby lock the tubular member
against tissue in the littman body', and

a Hrst component bonded to at least a portion of the
tubular member and formed of a heat bondable material
that includes a therapeutic agent selected from the
group consisting of a tissue ingrowth promoter and an
antibiotic,

wherein the heat bondable material is non-flowable and
non‘adherent at room temperature and becomes flow-
able, tacky, and adherent upon the application of heat.

2. 'l`hc implant of claim 1 wherein the heat bondable
material is a thermoplastic material.

3. Thc implant of claim 2 wherein the therapeutic agent is
an antibiotic.

4. The implant of claim l wherein the heat bondable
material includes laminated polymers.

5. The implant of claim 4 wherein the therapeutic agent is
an antibiotic.

¢i. The implant of claim 5 wherein one of the laminated
polymers is an ethylene based polymer

7. 'l`he implant of claim 6 wherein the ethylene based
polymer is polyethylene

8. The implant of claim 6 wherein the channel is config-
ured and dimensioncd to receive at least a portion of the
delivery mechanism.

9. The implant of claim 1 wherein die beat bondable
material includes a biodcgradablc matcrial.

10. The implant of claim 1 wherein the implant includes
a laser cut surface

11. 't'he implant of claim 1[] wherein the implant includes
a laser shaped configuration

12. The implant of Claittl 1 Wherein the implant is posi-
tionable in a vessel.

13. The implant of claim 12 wherein the implant is
conformable to the vessel.

]4. The implant ol` claim l wherein the heat bondable
material is a composite matcrial.

15. The implant of claim 14 wherein thc composite
material includes a polymer reinforced with a material
selected from the group consisting of nylon, graphite fibers,
KEVLAR libers, StaittlcSS Stccl fibers1 or a combination
thereof.

16. The implant of claim 14 wherein the heat hondahle
material includes layered polymers.

17. The implant oI` claim 16 wherein the therapeutic agent
is an antibiotic.

18. Tl‘te implant of claim 17 wherein the implant is
positionable in a vessel.

19. The implant of claim 18 wherein the implant is
conformable to the vessel.

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17 18

20. The implant ofclaim 19 wherein the implant includes 22. The implant of claim 21 Wherein the implant includes
a metallic matcrial. a laser shaped configuration

21. The implant of claim 20 wherein the implant includes
a laser cut surface * * * * *

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UNITED sTATEs PATENT AND TRADEMARK OFFICE
CERTIFICATE OF CORRECTION

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APPLICATION NO. 2 10/295127

DATED : May 15, 2007

INVENTOR(S) : Peter M. Bonutti

lt is certified that error appears in the above-identlied patent and that said Letters Patent is
hereby corrected as shown below:

Column 16, Line 60

the phrase “The implant of claim 14”, should read --The implant of claim l--

Signed and Sealed this

Foul'th Day of September, 2007

 

.lON W\ DUDAS
l)r'rector ofthe United Sra!es Patent and l"rademark Ojice

 

 

